Case 3:12-cv-07758-ZNQ-JBD    Document 481     Filed 10/18/24   Page 1 of 89 PageID:
                                    30735



 Sherrie R. Savett (pro hac vice)        Pete Marketos (pro hac vice)
 Joy P. Clairmont (pro hac vice)         Joshua M. Russ (pro hac vice)
 Michael T. Fantini (pro hac vice)       Andrew 0. Wirmani (pro hac vice)
 William H. Ellerbe                      Adam Sanderson (pro hac vice)
 BERGER MONTAGUE PC                      Whitney L. Wendel (pro hac vice)
 1818 Market Street, Suite 3600          REESE MARKETOS LLP
 Philadelphia, PA 19103                  750 N. St. Paul Street, Suite 600
 Telephone: 215-875-3000                 Dallas, TX 75201
 ssavett@bm.net                          Telephone: 214-382-9810
 j clairmont@bm.net                      pete.marketos@rm-firm.com
 mfantini@bm.net                         josh.russ@rm-firm.com
 wellerbe@bm.net                         andrew.wirmani@rm-firm.com
                                         adam.sanderson@rm-firm.com
                                         whitney.wendel@rm-firm.com

 Attorneys for Relators
 (Additional Counsel Appear on Signature Page)

                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


 UNITED ST ATES OF AMERICA,
 et al. EX REL. JESSICA PENELOW :
 and CHRISTINE BRANCACCIO,                   Case No. 12-7758 (ZNQ)(JBD)

             Plaintiffs,

             V.

 JANSSEN PRODUCTS, LP,

             Defendant.



      RELATORS' MEMORANDUM OF LAW IN OPPOSITION TO
   DEFENDANT'S MOTION FOR JUDGMENT AS A MATTER OF LAW
Case 3:12-cv-07758-ZNQ-JBD                   Document 481             Filed 10/18/24          Page 2 of 89 PageID:
                                                   30736



                                         TABLE OF CONTENTS

 TABLE OF AUTHORITIES .................................................................................. iii

 INTRODUCTION ..................................................................................................... 1

 GOVERNING LEGAL STANDARDS .................................................................... 2

 ARGUMENT ............................................................................................................ 3

 I.       RELATORS PROVED THEIR FCA CLAIMS ............................................. 3

          A.       Re lators Presented Substantial Evidence of Causation ....................... .4

                          1. Relators proved that Janssen's false and misleading marketing
                             was a substantial factor in causing false claims to be submitted
                             to government health care programs ....................................... .4

                          2. Individualized proof regarding doctors and claims is not
                             required to establish causation ............................................... 14

                          3. Relators proved that the submission of claims for
                             reimbursement was reasonably foreseeable or anticipated as a
                             natural consequence of Jans sen' s conduct ............................ 17

          B.       Relators Presented Substantial Evidence of Materiality ..................... 19

                          1. Relators introduced overwhelming evidence that Janssen's
                             misconduct could have affected the Government's payment
                             decision .................................................................................. 19

                          2. There was no evidence that the Government had full knowledge
                             of the fraud and agreed to continue to pay for the drugs ....... 26

                          3. Janssen's other arguments are irrelevant to the FCA materiality
                             analysis and must be rejected ................................................. 28

          C.       Relators Presented Substantial Evidence ofFalsity ............................ 29

                          1. Relators proved that Janssen's false and misleading OL
                             promotions in violation of FDA law and regulations caused the
                             submission of claims that violated a condition of
                             reimbursement for federal healthcare programs ................... 30

                                                            1
Case 3:12-cv-07758-ZNQ-JBD                  Document 481              Filed 10/18/24            Page 3 of 89 PageID:
                                                  30737



                        2. Relators also proved that certain alleged uses of Prezista and
                           Intelence were not for "medically accepted indications" ..... 35

                        3. Relators proved that the alleged uses of Prezista and Intelence
                           were not "reasonable or necessary" ..................................... .42

                        4. Re lators identified hundreds of thousands of false claims ... 48

 II.     RELATORS PROVED THEIR "STATE-LAW' CLAIMS ...................... .49

        A.       Relators Proved That the OL Prezista and Intelence Prescriptions were
                 Ineligible for Reimbursement by ADAP and Medicaid ..................... 50

 III.    THE EVIDENCE SUPPORTS THE VERDICT AND THE NUMBER OF
         CLAIMS .................................................................................................. 56

        A.       The Court Applied The Correct Measure of Damages And The Jury's
                 Verdict Comports With The Evidence and The Instruction ............... 56

        B.       Relators' Damages Model is Supported by the Evidence .................. 59

        C.       The Jury's Findings On The Number Of False Claims And The Amount
                 Of Damages Is Supported By Substantial Evidence ........................... 60

        D.       The Jury's Findings On Federal Damages And The Number Of Claims
                 Must Likewise Be Upheld .................................................................. 68

  IV.        JANSSEN'S OTHER ARGUMENTS SHOULD BE REJECTED .......... 70

        A.       The Government Action Bar and Public Disclosure Bar Do Not Apply
                 Here ..................................................................................................... 70

                             1. The "Government Action Bar" is inapplicable ................. 71

                             2. The "Public Disclosure Bar" is not applicable here ......... 73

        B.       There is no Constitutional Bar to Relators' Claims ............................ 74

  V.         CONCLUSION ........................................................................................ 76




                                                            ..
                                                            11
Case 3:12-cv-07758-ZNQ-JBD                 Document 481           Filed 10/18/24         Page 4 of 89 PageID:
                                                 30738



                                     TABLE OF AUTHORITIES

                                                     CASES

 AIDS Healthcare Foundation, Inc. v. Okaloosa AIDS Support and Informational
   Services, Inc.,
  No. 4:23CV230-MW/MAF, 2023 WL 11926188 (N.D. Fl. Oct. 10, 2023) ........ 50

 Ansbro v. Nat'l R.R. Passenger Corp.,
  No. CIV. A. 90-5042, 1991 WL 258831 (E.D. Pa. Dec. 3, 1991) ....................... 61

 Arkwright Mut. Ins. Co. v. Philadelphia Elec. Co.,
   427 F. 2d 1273 (3d Cir. 1970) ................................................................................ 9

 Arnold's Offzce Furniture, LLC v. Borden,
  No. 5:20-CV-05470-JMG, 2023 WL 3851978 (E.D. Pa. June 6, 2023) .............. 61

 Avaya Inc., RP v. Telecom Labs, Inc.,
   838 F.3d 354 (3d Cir. 2016) ................................................................................... 3

 Ford Motor Co. v. Summit Motor Products, Inc.,
  930 F.2d 277 (3d Cir. 1991) ................................................................................. 61

 In re Actimmune Mktg. Litig.,
   614 F. Supp. 2d 1037 (N.D. Cal. 2009) ............................................................... 15

 In re Avandia Marketing, Sales Practices and Prod. Liab. Litig.,
    804 F.3d 633 (3d Cir. 2015) ................................................................................ 16

 In re Avandia Marketing, Sales Practices and Products Liability Litigation,
   No. 2007-MD-1871, 2011 WL 13576 (E.D. Pa. Jan. 4, 2011) .............................. 8

 In re Lemington Home for the Aged,
   777 F.3d 620 (3d Cir. 2015) ................................................................................... 3

 In re National Prescription Opiate Litigation,
   No. 1: l 7-MD-2804, 2019 WL 4043943 (N.D. Ohio Aug. 26, 2019) .................... 8

 In re Neurontin Marketing and Sales Practices Litigation,
   712 F. 3d 21 (1st Cir. 2013) ....................................................................... 8, 15-16

                                                         111
Case 3:12-cv-07758-ZNQ-JBD                  Document 481            Filed 10/18/24         Page 5 of 89 PageID:
                                                  30739




 In re Scrap Metal Antitrust Litig.,
   527 F.3d 517 (6th Cir. 2008) ................................................................................ 67

 In re Urethane Antitrust Litig.,
   768 F.3d 1245 (10th Cir. 2014) ............................................................................ 67

 In re Zyprexa Prods. Liab. Litig.,
   671 F. Supp. 2d 397 (E.D.N.Y. 2009) .................................................................. 15

 Lightning Lube, Inc. v. Witco Corp.,
   4 F.3d 1153 (3d Cir. 1993) .................................................................................... 3

 Mason v. Medline Indus., Inc.,
  731 F. Supp. 2d 730 (N.D. Ill. 2010) ................................................................... 12

 Medcom Holding v. Baxter Travenol Labs., Inc.,
  106 F.3d 1388 (7th Cir. 1997) .............................................................................. 67

 Motter v. Everest & Jennings, Inc.,
  883 F.2d 1223 (3d Cir.1989) ................................................................................ 61

 NAACP v. North Hudson Regional Fire & Rescue,
  665 F.3d 464 (3d Cir. 2011) ................................................................................... 8

 New Mkt. Inv. Corp. v. Fireman's Fund Ins. Co.,
  774 F. Supp. 909 (E.D. Pa. 1991) ........................................................................ 61

 R.S.E., Inc. v. Pennsy Supply, Inc.,
   523 F. Supp. 954 (M.D. Pa. 1981) ................................................................. 65-66

 Redland Soccer Club, Inc. v. Dept. ofArmy,
  55 F.3d 827 (3d Cir. 1995) ..................................................................................... 9

 Reeves v. Sanderson Plumbing Products, Inc.,
   530 U.S. 133 (2000) ........................................................................................... 2-3


 Reynolds v. Univ. of Pa.,
   747 F. Supp. 2d 522 (E.D. Pa. 2010) ..................................................................... 2

                                                          IV
Case 3:12-cv-07758-ZNQ-JBD                 Document 481           Filed 10/18/24        Page 6 of 89 PageID:
                                                 30740




 Riley v. St. Luke's Episcopal Hosp.,
   252 F.3d 749 (5th Cir. 2001 ) .......................................................................... 75-76

 Russo v. Ballard Med. Prods.,
  550 F.3d 1004 (10th Cir. 2008) ............................................................................ 67

 Sidney Hillman Health Center of Rochester v. Abbott Laboratories,
   873 F. 3d 574 (7th Cir. 2017) ............................................................................... 18

 Steamfitters Loe. Union No. 420 Welfare Fund v. Philip Morris, Inc.,
   171 F.3d 912 (3d Cir. 1999) ................................................................................. 18

 Strom ex rel. U.S. v. Scios, Inc.,
   676 F. Supp. 2d 884 (N.D. Cal. 2009) ................................................................. 34

 Sturgeon v. Pharmerica Corp.,
   438 F.Supp.3d 246 (E.D. Pa. 2020) ..................................................................... 72

 Tuf Racing Prods., Inc. v. Am. Suzuki Motor Corp.,
  223 F.3d 585 (7th Cir. 2000) ................................................................................ 68

 United States ex rel. Bennett v. Biotronick, Inc.,
  876 F.3d I 011 (9th Cir. 2017) .............................................................................. 72

 United States ex rel. Bergman v. Abbot Laboratories,
  995 F. Supp. 2d 357, 362 (E.D. Pa. 2014) ............................................................. 5

 United States ex rel. Brown v. Celgene,
  2:10-cv-03165 (C.D. Cal. June 12, 2014) ...................................................... 14-16

 United States ex rel. Buth v. Pharmerica Corp.,
  No. 09-C-0720, 2014 WL 4355342 (E.D. Wis. 2014) ............................ .40, 44, 49

 United States ex rel. Butler v. Shikara,
  No. 20-80483-CV (S.D. Fla. Sept. 6, 2024) ......................................................... 76


 United States ex rel. Cantekin v. Univ. ofPittsburgh,
  192 F.3d 402 (3d Cir. 1999) ................................................................................. 16

                                                         V
Case 3:12-cv-07758-ZNQ-JBD                 Document 481           Filed 10/18/24         Page 7 of 89 PageID:
                                                 30741




 United States ex rel. Chorches for Bankruptcy Estate ofFabula v. Am. Med.
  Response, Inc.,
  865 F.3d 71 (2d Cir. 2017) ................................................................................... 73

 United States ex rel. Colquitt v. Abbott Labs,
  No. 3:06-CV-1769-M, 2016 WL 80000 N.D. Tex. Jan. 7, 2016) ........................ 14

 United States ex rel. Drakeford v. Tuomey,
  792 F.3d 364 (4th Cir. 2015) .......................................................................... 57-59

 United States ex rel. Druding v. Care Alternatives,
  952 F.3d 89 (3d Cir. 2020) .................................................................................. .47

 United States ex rel. Feldman v. City ofNew York,
  808 F. Supp. 2d 641 (S.D.N.Y. 2011) .................................................................. 13

 United States ex rel. Franklin v. Parke-Davis, Div. of Warner- Lambert Co.,
  147 F. Supp. 2d 39 (D. Mass. 2001) .............................................................. 12, 16

 United States ex rel. Franklin v. Parke-Davis, Div. of Warner- Lambert Co.,
  No. CIV.A. 96- l 1651PBS, 2003 WL 22048255 (D. Mass. Aug. 22, 2003). 15-16

 United States ex rel. Freedom Unlimited, Inc. v. City ofPittsburgh, Pennsylvania,
   728 Fed. Appx. 101 (3d Cir. 2018) ..................................................................... 32

 United States ex rel. Hinkle v. Caris Healthcare, L.P.,
  No. 3: 14-CV-212-TAV-HBG, 2017 WL 3670652 (E.D. Tenn. May 30, 2017) .34

 United States ex rel. Kelly v. Boeing Co.,
  9 F.3d 743 (9th Cir. 1993) .................................................................................... 75

 United States ex rel. Kester v. Novartis Pharmaceuticals Corp.,
  41 F. Supp. 3d 323 (S.D.N.Y. 2014) .................................................................... 39

 United States ex rel. Kreindler & Kreindler v. United Techs. Corp.,
  985 F.2d 1148 (2d Cir. 1993) ............................................................................... 75

 United States ex rel. Lutz v. Blue Wave Healthcare Consultants, Inc.,
  No. 9: l l-CV-1593-RMG, 2018 WL 11282049 (D.S.C. May 23, 2018) ............. 58

                                                         Vl
Case 3:12-cv-07758-ZNQ-JBD                  Document 481            Filed 10/18/24         Page 8 of 89 PageID:
                                                  30742




 United States ex rel. Marcus v. Hess,
  317 U.S. 537 (1943) ............................................................................................. 13

 United States ex rel. Maur v. Hage-Karban,
  981 F.3d 516 (6th Cir. 2020 ................................................................................. 26

 United States ex rel. May v. Purdue Pharma L.P.,
  737 F.3d 908 (4th Cir. 2013) ................................................................................ 73

 United States ex rel. Petratos v. Genentech, Inc.,
  141 F. Supp. 3d 311 (D.N.J. 2015) ...................................................................... 51

 United States ex rel. Petratos v. Genentech, Inc.,
  855 F.3d 481 (3d Cir. 2017) ........................................................ 6-7, 26, 46-47, 51

 United States ex rel. Polansky v. Pfizer, Inc.,
  822 F.3d 613, (2d Cir. 2016) .......................................................................... l l, 53

 United States ex rel. Polansky v. Exec. Health Res., Inc.,
  599 U.S. 419, (2023) ............................................................................................ 75

 United States ex rel. Schmidt v. Zimmer, Inc.,
  386 F.3d 235 (3d Cir. 2004) ................................................... 5-7, 13-14, 16-17, 39

 United States ex rel. Stone v. Rockwell Int 'l Corp.,
  282 F.3d 787 (10th Cir. 2002) .............................................................................. 75

 United States ex rel. Streck v. Takeda Pharm. Am., Inc.,
  2023 WL 3093476 (N.D. Ill. Apr. 26, 2023) ....................................................... 25

 United States ex rel. Taxpayers Against Fraud v. Gen Elec. Co.,
  41 F.3d 1032 (6th Cir. 1994 ................................................................................. 75

 United States ex rel. Travis v. Gilead Scis., Inc.,
  596 F. Supp. 3d 522 (E.D. Pa. 2022) ................................................................... 51

 United States ex rel. Webb v. Miller Fam. Enter.,
   No. l:13-CV-00169-DBH, 2014 WL 6611012 (D. Me. July 2, 2014) ............... 39

                                                           ..
                                                         Vll
Case 3:12-cv-07758-ZNQ-JBD                 Document 481           Filed 10/18/24         Page 9 of 89 PageID:
                                                 30743



 United States ex. rel. S. Prawer and Co. v. Fleet Bank of Maine,
  24 F.3d 320 (1st Cir. 1994) .................................................................................. 72

 United States ex rel. Zafirov v. Florida Medical Associates, LLC,
  No. 8: 19-cv-1236, 2024 U.S. Dist. LEXIS 176626 (M.D. Fla. Sept. 30, 2024) .. 76

 United States v. AIDS Healthcare Foundation, Inc.,
  No. 14-CV-61301-KMW, 2016 WL 11783286 (S.D. Fl. July 19, 2016) ............ 50

 United States v. Albinson,
  No. CIV. 09-1791 DRD, 2010 WL 3258266 (D.N.J. Aug. 16, 2010) ................... 5

 United States v. Bornstein,
  423 U.S. 303 (1976) ....................................................................................... 13, 59

 United States v. Care Alternatives,
  81 F. 4th 361 (3d Cir. 2023) ........................................................................... 19, 26

 United States v. Greenfield v. Medco Health Solutions, Inc.,
  880 F. 3d 89 (3d Cir. 2018) .................................................................................... 7

 United States v. Mackby,
  339 F.3d 1013 (9th Cir. 2003) .............................................................................. 57

 United States v. President & Fellows of Harvard Coll.,
  323 F. Supp. 2d 151 (D. Mass. 2004) .................................................................. 13

 United States v. Robinson,
  No. CV 13-27-GFVT, 2016 WL 7030447 (E.D. Ky. July 8, 2016) .................... 58

 United States v. Rogan,
  517 F.3d 449 (7th Cir. 2008) ............................................................................ 8, 57

 United States v. Shulman,
  624 F.2d 384 (2d Cir. 1980) ................................................................................. 21

 Universal Health Servs., Inc. v. United States ex rel. Escobar
  579 U.S. 176, (2016) ................................................................................ 19-21, 32



                                                        Vlll
Case 3:12-cv-07758-ZNQ-JBD                   Document 481             Filed 10/18/24          Page 10 of 89 PageID:
                                                   30744



 Vermont Agency ofNat. Res. v. United States ex rel. Stevens,
  529 U.S. 765, 774 (2000) ..................................................................................... 75

 Webb ex rel. United States v. Miller Fam. Enter.,
  No. 1: 13-CV-00169-DBH, 2014 WL 6611065 (D. Me. Nov. 20, 2014) ............. 39

                                                    STATUTES

 21 U.S.C. § 32l(n) .................................................................................................. 31

 21 U.S.C. § 352(a) ................................................................................................... 3 l

 21 U.S.C. §§ 33 l(a) ................................................................................................. 3 l

 21 U.S.C. §§ 33 l(b) ................................................................................................ 31

 31 U.S.C. § 3729(a)(l)(A) ................................................................................ 13, 39

 31 U.S.C. § 3729(a)(l)(B) ................................................................................. 13, 39

 31 U.S.C. § 3730(e)(4) ............................................................................................ 26

 31 U.S.C. § 3730(e)(4)(A) ................................................................................ 73-74

 31 U.S.C. §3730(b) ................................................................................................. 27

 31 U.S.C.A. § 3729(b)(2)(A)(ii) ............................................................................. 39

 42 U.S.C. § 256b ..................................................................................................... 54

 42 U.S.C. § 1396r-8(k)(2) ....................................................................................... 54

 42 U.S.C. §§ 1395w-102(e)(l) ................................................................................ 36

 42 USC§§ 1395w-102(e)(3) ................................................................................. .42

 42 U.S.C. §§ 1395w-102(e)(3)(A) .......................................................................... 36

 42 USC§§ 1395y(a)(l)(A) .................................................................................... .42

 42 USC§§ 1396w-102(e) ....................................................................................... 35

                                                            IX
Case 3:12-cv-07758-ZNQ-JBD                    Document 481             Filed 10/18/24           Page 11 of 89 PageID:
                                                    30745




 42 USC §§ 1396r-8(k)(6) ........................................................................................ 35


                                                         RULES

 2 C.F.R. § 200.403(a) .............................................................................................. 54

 45 C.F.R. § 75.403(a) ............................................................................................. 54

 42 C.F.R. 50.504 ..................................................................................................... 54


                                           OTHER AUTHORITIES

 Manual ch. 6 § 10.6 ................................................................................................. 37

 Prosser and Keeton on Torts§ 44, at 303-04 (5th ed. 1984) ................................. 17

 Restatement (Second) of Torts§ 443 (1965) .......................................................... 17

 Ryan White HIV/AIDS Program, AIDS Drug Assistance Program (ADAP)
  Manual. ................................................................................................................. 54

 United States Dept. of Justice, Johnson & Johnson to Pay More Than $2.2 Billion
  to Resolve Criminal and Civil Investigations (Nov. 4, 2013) ................................ 2

 United States Dept. of Justice, Shire Pharmaceuticals LLC to Pay $56.5 Million to
  Resolve False Claims Act Allegations Relating to Drug Marketing and
  Promotion Practices (Sept. 24, 2014) ..................................................................... 2




                                                              X
Case 3:12-cv-07758-ZNQ-JBD     Document 481      Filed 10/18/24   Page 12 of 89 PageID:
                                     30746



        Relators Jessica Penelow and Christine Brancaccio hereby oppose Defendant

 Janssen Products, LP's Motion for Judgment as a Matter of Law, filed on August

 12, 2024. Dkt. 473. For the reasons stated below, Janssen's Motion should be denied

 in its entirety.

                                 INTRODUCTION

 Through its Motion, Janssen seeks the extraordinary relief of overturning the jury

 verdict entered in this case on June 13, 2024. See Dkt. 435. The eight-member jury

 unanimously found that Relators have proven by a preponderance of the evidence

 that Janssen violated the federal and states' False Claims Acts ("FCA") by

 unlawfully promoting its HIV drugs Prezista and Intelence during the relevant period

 of June 2006 through 2014 (the "Relevant Period"). The jury further determined the

 amounts of damages that the federal and state governments sustained as a result of

 Janssen's conduct, as well as the number of false claims that Janssen caused to be

 submitted to the government for reimbursement. Id. The jury reached its verdict after

 more than a five-week trial spanning from May 6 to June 13, 2024, during which

 Relators' counsel presented a mountain of evidence through twelve fact witnesses

 (all of whom had been employed by Janssen), five experts, and hundreds of

 Janssen's own documents. The jury deliberated for over two full days, and it made

 multiple requests for witness testimony and other information from the Court before

 delivering its verdict.


                                           1
Case 3:12-cv-07758-ZNQ-JBD      Document 481     Filed 10/18/24   Page 13 of 89 PageID:
                                      30747



         Despite the voluminous substantive evidence presented by Relators

 establishing each element of their claims, Janssen now argues to the Court that there

 is "no evidence" to support Relators' claims. Def. Br. at 1-2. 1 Janssen also rehashes

 many of the same legal arguments that this Court has previously rejected, and/or that

 are contrary to law. Based on the trial record, governing legal standards, and

 applicable law, Janssen's Motion should be denied in its entirety. 2

                       GOVERNING LEGAL STANDARDS

         A Rule 50(b) motion requires the court to "review all the evidence in the

 record." Reynolds v. Univ. of Pa., 747 F. Supp. 2d 522, 534 (E.D. Pa. 2010) (citing

 Reeves v. Sanderson Plumbing Products, Inc., 530 U.S. 133, 150 (2000)). Judgment


 1
     "Def. Br" refers to Janssen's accompanying Memorandum of Law, at Dkt 473-1.
 2
   Relators' theory of liability is not novel in that there have been numerous
 settlements of FCA cases over the years involving OL promotion of drugs within the
 same disease state for which the drug was FDA-approved. See, e.g., United States
 Dept. of Justice, Shire Pharmaceuticals LLC to Pay $56.5 Million to Resolve False
 Claims Act Allegations Relating to Drug Marketing and Promotion Practices (Sept.
 24,     2014),    https://www.justice.gov/opa/pr/shire-pharmaceuticals-llc-pay-565-
 million-resolve-false-claims-act-allegations-relating-drug (settling allegations of
 false promotion three ADHD-treatment drugs for patients with ADHD by
 overstating efficacy and minimizing "abuseability"); see also United States Dept. of
 Justice, Johnson & Johnson to Pay More Than $2.2 Billion to Resolve Criminal and
 Civil Investigations (Nov. 4, 2013), https://www.justice.gov/opa/pr/johnson-
 johnson-pay-more-22-billion-resolve-criminal-and-civil-
 investigations#: ~:text=As%20part%2 0of0/o20today's%20resolution, off0/o2D label%
 20marketing%20of0/o20Natrecor (settling allegations with Scios, a J&J subsidiary,
 for illegal promotion of a heart failure drug to patients with a less severe form of
 heart failure than the drug was approved for).


                                           2
Case 3:12-cv-07758-ZNQ-JBD       Document 481     Filed 10/18/24      Page 14 of 89 PageID:
                                       30748



 as a matter of law "should be granted only if, viewing the evidence in the light most

 favorable to the nonmovant and giving it the advantage of every fair and reasonable

 inference, there is insufficient evidence from which a jury reasonably could find

 liability." Lightning Lube, Inc. v. Witco Corp., 4 F.3d 1153, 1166 (3d Cir. 1993)

 (citation omitted). The motion must be denied if the record contains "that minimum

 quantity of evidence from which a jury might reasonably afford relief." In re

 Lemington Home for the Aged, 777 F.3d 620,626 (3d Cir. 2015) (citation omitted).

       Overturning a jury's verdict through a Rule 50(b) motion is extraordinary

 relief that should be granted "sparingly." Avaya Inc., RP v. Telecom Labs, Inc., 838

 F.3d 354, 373 (3d Cir. 2016). "Credibility determinations, the weighing of the

 evidence, and the drawing of legitimate inferences from the facts are jury functions,

 not those of a judge." Id. (quoting Reeves, 530 U.S. at 150-51). Thus, "although the

 court should review the record as a whole, it must disregard all evidence favorable

 to the moving party that the jury is not required to believe." Id.

                                     ARGUMENT

 I.    RELATORS PROVED THEIR FCA CLAIMS

       Janssen argues that "the evidence fails to support the portion of the jury's

 verdict in favor of Relators" as to causation, materiality, and falsity. Def. Br. at 7-




                                            3
Case 3:12-cv-07758-ZNQ-JBD      Document 481      Filed 10/18/24      Page 15 of 89 PageID:
                                      30749



 8. 3 Because the record contained sufficient evidence to support the jury's findings

 as to all of these elements, Janssen's Rule 50(b) challenges fail.

         A.    Relators Presented Substantial Evidence of Causation

         The Court correctly instructed the jury that Janssen could be found to have

 caused the submission of a claim to the government payors if "(l) the conduct was

 a substantial factor in inducing providers to submit claims for reimbursement, and

 (2) the submission of claims for reimbursement was reasonably foreseeable or

 anticipated as a natural consequence of Janssen's conduct." See Dkt. 424-11 at 35

 (Instruction No. 19.2, "Causation") (emphasis added). Relying upon the wrong legal

 standard, Janssen now argues that Relators failed to prove that Janssen was the "but

 for" or proximate cause of the submission of false claims to Medicare. Def. Br. at 8.

 Because the record was more than sufficient for the jury to find that Janssen caused

 the submission of false claims under the Third Circuit's "substantial factor" test,

 Janssen' s challenge fails.

               1.    Relators proved that Janssen's false and misleading
                     marketing was a substantial factor in causing false claims to
                     be submitted to government health care programs.

         Janssen argues that Re lators failed to produce substantial evidence that

 Janssen's conduct was the "but-for cause" of the submission of any false claim for

 reimbursement. Def. Br. at 8. Janssen's "but-for" argument is both incorrect and


 3
     "Def. Br" refers to Janssen's accompanying Memorandum of Law, at Dkt 473-1.

                                           4
Case 3:12-cv-07758-ZNQ-JBD      Document 481     Filed 10/18/24   Page 16 of 89 PageID:
                                      30750



 irrelevant. As this Court recognized in denying Janssen's motion for summary

 judgment, causation is satisfied under the FCA if the defendant's conduct was a

 "substantial factor" in producing the false claims and it was "foreseeable" that false

 claims would result from such conduct. See Dkt. 291 at 19-21; see also United States

 ex rel. Schmidt v. Zimmer, 386 F.3d 235, 244 (3d Cir. 2004) (employing the

 "substantial factor/foreseeability" test for FCA causation in marketing context); see

 also United States v. Albinson, No. CIV. 09-1791 DRD, 2010 WL 3258266 at *11-

 12 (D.N.J. Aug. 16, 2010) (same). 4

       Nonetheless, Janssen attempts to supplant the Third Circuit's "substantial

 factor" test for causation in FCA cases with a "but-for" cause standard that

 contradicts the Court's Instruction No. 19.2 ("Causation") to the jury-an instruction

 that Janssen does not even challenge in any of its post-trial briefing. Def. Br. at 8.

 Initially, Janssen acknowledges that the proper causation standard in an FCA case is

 whether "Janssen's alleged conduct was a 'substantial factor' in causing the

 submission of false claims to Medicare." Def. Br. at 8. (citing United States ex. Rel.

 Schmidt v. Zimmer, Inc., 386 F.3d 235, 244-45 (3d Cir. 2004)). In the next sentence,

 however, Janssen contends that Relators "thus" had the burden of proving that (1)



 4
   See United States ex rel. Bergman v. Abbot Laboratories, 995 F. Supp. 2d 357,
 362,368 (E.D. Pa. 2014) ("The Third Circuit has held that in order to properly allege
 causation, the illegal marketing scheme must be a 'substantial factor' in influencing
 third parties, such as physicians, to file false claims.").

                                           5
Case 3:12-cv-07758-ZNQ-JBD      Document 481      Filed 10/18/24    Page 17 of 89 PageID:
                                      30751



 Janssen was the "but-for" cause of the submission of false claims and (2) the

 "proximate cause" of the submission of those claims. Id. (emphasis added). Janssen

 supports both contentions with a bare citation to one page of the Third Circuit's

 decision in United States ex rel. Petratos v. Genentech, Inc., 855 F.3d 481,491 (3d

 Cir. 2017). Id. But the Petratos court did not replace the "substantial factor" test the

 Third Circuit held applicable to the FCA in Schmidt with the "but-for" test, as

 Janssen casually implies.

       Instead, Janssen's brief borrows the relator's rejected and erroneous argument

 in Petratos and attempts to make it the Third Circuit's test for causation. In Petratos,

 the relator argued that he could establish the materiality element by proving that "the

 alleged fraud was the 'but for' cause of the submitted claim." 855 F.3d at 491. The

 court observed that the relator "conflates materiality with causation, a separate

 element of a False Claims Act cause of action." Id. It further pointed out that the

 relator's theory was illogical because "but-for" causation could not alone suffice

 even for the causation element-which requires a showing of proximate cause

 (foreseeability) as well. Id. The Petratos court did not hold that the relator's "but

 for" causation theory is the proper standard for causation in FCA cases in rejecting

 the relator's errant theory as to materiality. The Third Circuit's "substantial factor"




                                            6
Case 3:12-cv-07758-ZNQ-JBD      Document 481     Filed 10/18/24   Page 18 of 89 PageID:
                                      30752



 test adopted in Schmidt applies-not "but for" causation. 5

       Under the correct test, and as the Court instructed the jury, Relators proof was

 far more than sufficient to establish that Janssen's illegal OL marketing was a

 "substantial factor" in "in inducing providers to submit claims for reimbursement."

 See Final Jury Instructions, Instruction No. 19.2. Relators produced voluminous

 evidence that Janssen's false and misleading marketing induced physicians to submit

 claims for reimbursement to government payors, and that those claims were not only

 foreseeable and anticipated but were Janssen's intended result. For instance, Relators

 presented evidence to the jury showing that, inter alia: (1) Janssen engaged in a top-

 down, nationwide off-label ("OL") marketing scheme for Prezista and Intelence over

 a period of almost nine years; (2) the very purpose of Janssen's systematic OL

 scheme was to cause doctors to increase their prescriptions of Prezista and Intelence,

 as Janssen's own documents and trial witnesses demonstrated; (3) Janssen's sales

 representatives and managers observed an increase in doctors' prescriptions after

 they delivered the OL messages to them; (4) marketing reports by PILM, a third-

 party marketing research firm retained by Jans sen, state that Janssen' s sales force

 had the highest effectiveness of any sales force in causing "lift" or an increase in

 prescriptions through their promotion; (5) Relators' pharmaceutical marketing


 5
   See also United States v. Greenfield v. Medco Health Solutions, Inc., 880 F. 3d 89,
 96 (3d Cir. 2018) (decided after Petratos and rejecting "but for" test with respect to
 the AKS under the FCA).

                                           7
Case 3:12-cv-07758-ZNQ-JBD       Document 481     Filed 10/18/24    Page 19 of 89 PageID:
                                       30753



 expert, George Sillup, opined that Janssen's specific OL marketing messages caused

 doctors to prescribe Prezista and Intelence OL; (6) Relators' data expert, Ian Dew,

 identified hundreds of thousands of "prescription drug event" ("PDE") data

 demonstrating claims for the OL prescriptions of Prezista and Intelence from

 influenced physicians submitted to CMS for reimbursement; (7) Relators' causation

 and damages expert Israel Shaked performed statistical analyses which identified the

 thousands of doctors who were subjected to Janssen's marketing, and demonstrated

 that those "influenced" doctors prescribed the drugs OL at much higher rates than

 doctors who were not contacted by Janssen; 6 and (8) Shaked's calculations showed

 that thousands of OL prescriptions were written by "influenced" doctors and then




 6
   United States v. Rogan, 517 F.3d 449,453 (7th Cir. 2008) (holding, in FCA case,
 that the defendant's "argument that the district judge had to address each of the 1,812
 claim forms is a formula for paralysis" and that "[sJtatistical analysis should
 suffice") (emphasis added); In re Neuron tin Marketing and Sales Practices
 Litigation, 712 F. 3d 21, 42 (1st Cir. 2013) ("[C]ourts have long permitted parties to
 use statistical data to establish causal relationships." ) (collecting cases) (affirming
 jury's finding of causation between OL marketing and prescriptions based on
 expert's statistical analyses); In re National Prescription Opiate Litigation, No.
 l:l 7-MD-2804, 2019 WL 4043943 at *5-6 (N.D. Ohio Aug. 26, 2019) (holding
 experts can rely on statistical correlations to infer causation); Celgene, 226 F. Supp.
 3d at 1039--40 (holding a jury could find causation between OL marketing and
 prescriptions based, in part, on statistical analysis of plaintiffs expert); NAACP v.
 North Hudson Regional Fire & Rescue, 665 F.3d 464, 477 (3d Cir. 2011)
 ("Statistical disparities alone can raise an inference of causation."); In re Avandia
 Marketing, Sales Practices and Products Liability Litigation, No. 2007-MD-1871,
 2011 WL 13576 at *4 (E.D. Pa. Jan. 4, 2011) (finding "the experts have sufficient
 statistically significant data to support their causal inferences").

                                            8
Case 3:12-cv-07758-ZNQ-JBD       Document 481      Filed 10/18/24    Page 20 of 89 PageID:
                                       30754



 submitted to the government for reimbursement. 7 The Court discussed some of this

 evidence when denying Janssen's motion for summary judgment. Dkt 291 at 20-21.

 Causation is a quintessential fact issue for the jury to decide, 8 and based on Relators'

 evidence presented at trial, the jury was entitled to find that Janssen's conduct was

 a "substantial factor in inducing prescribers to submit claims for reimbursement."

       Nonetheless, after applying the wrong causation standard, Janssen ignores the

 Court's instruction to the jury regarding whether its conduct was a "substantial

 factor" in inducing providers to submit claims for reimbursement, see Dkt. 414-11

 at 35 (Instruction No. 19.2, "Causation"), and argues that Relators failed to produce

 substantial evidence that Jans sen was the "but-for cause" of the submission of a false

 claim "by a Part D plan sponsor to CMS." Def. Br. at 8 (emphasis added). Janssen

 contends that "Relators needed to prove not merely that Janssen persuaded doctors

 to prescribe off-label, but that Jans sen engaged in conduct that somehow subverted

 Part D plan sponsors' processes for identifying and weeding out prescriptions that


 7
   For point (1 ), see the trial testimony of Penelow, Brancaccio, Wilhelm, Strand,
 Graham, Grooms, and Holshoe. For the remaining points, see RXl 78 at 2;
 5/15/2024 Trial Tr. at 1708:8-1709:13; 1726:20-1727:6; 5/22/2024 Trial Tr. at
 3255: 15-3256:23; 5/23/2024 Tr. at 3508:4-16; 5/30/2024 Tr. at 4726: 11-4727:23;
 5/9/2024 Trial Tr. at 748:25-749:13; 5/22/2024 Tr. at 3046:24-3047:9; 6/3/2024 Tr.
 at 5410:6-11, 5443:11-5444:6, 5447:2-6, 5448:10-5449:18, 5476:7-5477:9,
 5480:25-5485:23.
 8
   See Redland Soccer Club, Inc. v. Dept. of Army, 55 F.3d 827, 851 (3d Cir. 1995)
 ("Causation in fact is normally a question for the jury[.]"); see also Arkwright Mut.
 Ins. Co. v. Philadelphia Elec. Co., 427 F. 2d 1273, 1275 (3d Cir. 1970) (same).

                                            9
Case 3:12-cv-07758-ZNQ-JBD       Document 481      Filed 10/18/24   Page 21 of 89 PageID:
                                       30755



 are not eligible for reimbursement under Medicare." Id. at 9.

       Janssen's manufactured requirement of proof, under the wrong standard of

 causation, is not at all what Relators "needed to prove" under the Court's instruction

 for causation. Whether Janssen's conduct was a "substantial factor" in inducing

 doctors to submit claims for reimbursement has nothing to do with whether Janssen

 was the "but-for" cause of downstream, intermediary Part D plan sponsors

 submitting claims to CMS. Janssen cites no authority for its fictitious requirement

 that Relators must prove how Janssen's fraudulent marketing impacted Part D

 sponsors' "processes." That is because there is none.

       Janssen next relies upon an amicus brief filed by the United States in the Ninth

 Circuit to assert that Relators "must" show that Janssen made false statements

 "material to reimbursability." Def. Br. at 10. This too is incorrect. While the amicus

 brief states that a drug company may be liable under the FCA where it makes false

 or misleading statements material to reimbursability, the United States was not

 asserting that this conduct is the exclusive basis of FCA liability; it was simply

 providing one example of how a company may violate the Act based on the facts in

 that case. See Def. Br., Ex. 1 at 11-12. 9


 9
  The United States' amicus brief is favorable to Relators' position here. The United
 States, under the "substantial factor" test, describes how a drug company's
 marketing to doctors may cause the submission of false claims to the government
 and says nothing about a requirement of proof relating to Part D plan sponsors. See
 Def. Br. Ex. 1, at 12-13 ("The proximate connection between the drug company's
                                              10
Case 3:12-cv-07758-ZNQ-JBD        Document 481   Filed 10/18/24   Page 22 of 89 PageID:
                                        30756



       In the absence of any direct legal authority relating to intermediary plan

 sponsors, Janssen attempts to reason by analogy by citing to United States ex rel.

 Polansky v. Pfizer, 822 F.3d 613 (2d Cir. 2016), which does not stand for any of the

 propositions Janssen argues. In Polansky, the Second Circuit affirmed the district

 court's dismissal of the relator's complaint for failing to identify a false claim

 because the relator alleged that the OL promotion contradicted non-mandatory

 guidelines, rather than the drug's label. Id. at 616-20. The alleged OL promotion

 was not OL at all. Notably, the court did not address causation standards, Part D

 sponsors, or false and misleading OL marketing that contradicted the drug's label

 or minimized its side effects.

       Relators here proved that Janssen's fraudulent promotion of Prezista and

 Intelence induced physicians to prescribe the drugs in violation of FDA law, for uses

 that were not proven safe and effective, were not medically accepted or medically

 necessary, and were potentially dangerous. Regardless of how the relator in

 Polansky might have proven his case, in this case there was a trial, and the evidence

 supported the jury's findings that Janssen induced providers to submit false claims

 for reimbursement.



 actions and the submission of the false claim is clear where the drug company's false
 or misleading marketing activities or kickbacks are designed to induce the provider
 to prescribe or administer the drug and submit false claims to pay for it.") (emphasis
 added).

                                          11
Case 3:12-cv-07758-ZNQ-JBD       Document 481    Filed 10/18/24   Page 23 of 89 PageID:
                                       30757



       Caselaw is clear that proof of a fraudulent OL marketing scheme directed at

 doctors will establish causation despite several links and intermediary players

 involved further down the claim submission chain and the fact that doctors or

 pharmacies (or Part D sponsors) are alleged to have exercised their own judgment

 or discretion. The court in United States ex rel. Franklin v. Parke-Davis, Div. of

 Warner- Lambert Co., 147 F. Supp. 2d 39, 52-53 (D. Mass. 2001) ("Franklin I'')

 addressed this precise point:

       The gravamen of Relator's claim is that Parke-Davis engaged in an
       unlawful course of fraudulent conduct including knowingly making
       false statements to doctors that caused them to submit claims that were
       not eligible for payment by the government under Medicaid. . . .
       Defendant argues that Relator has not stated a claim because he has not
       accounted for the independent actions of the physicians who wrote the
       off-label prescriptions and the pharmacists who accepted and filled the
       off-label prescriptions. In other words, Defendant argues that-as a
       matter of law-Relator's allegations cannot establish the causation
       requirement of the FCA because the actions of these professionals were
       an intervening force that breaks the chain of legal causation. Under
       black letter law, however, such an intervening force only breaks the
       causal connection when it is unforeseeable .... [W]hen all reasonable
       inferences are drawn in favor of the Relator, the participation of doctors
       and pharmacists in the submission of false Medicaid claims was not
       only foreseeable, it was an intended consequence of the alleged scheme
       of fraud.

 Id. (internal citations omitted). 10 Here, there is overwhelming proof that Janssen's

 marketing changed physicians' prescribing behavior and led to increased OL



 10
   See also Mason v. Medline Indus., Inc., 731 F. Supp. 2d 730, 738 (N.D. Ill.
 2010) ("The wealth of case law supports the proposition that the FCA reaches
                                          12
Case 3:12-cv-07758-ZNQ-JBD        Document 481    Filed 10/18/24   Page 24 of 89 PageID:
                                        30758



 prescriptions of Prezista and Intelence submitted to government payors for

 reimbursement, including evidence drawn from extensive expert analyses that

 Janssen itself paid for in real time. 11

        Janssen's argument is also contrary to the statutory language of the FCA itself.

 Under the law, a defendant can be liable under the FCA for "causing" the

 presentment of false claims. 31 U.S.C. § 3729(a)(l )(A), (B). Such liability attaches

 here where Janssen engaged in an OL scheme that was a substantial factor in causing

 others, including Part D sponsors, to present false claims to the government. 12 As

 the Third Circuit has held, "the crucial issue was whether the defendants knowingly



 claims that are rendered false by one party but submitted to the government by
 another") (collecting cases).
 11
   See Dkt. 75 at 6-8 (SOI) ("Fraud directed at physicians may therefore establish
 FCA liability if government reimbursement was a reasonably foreseeable result").
 12
   See, e.g., United States ex rel. Marcus v. Hess, 317 U.S. 537, 544-545 (1943) (The
 provisions of the FCA, including its prohibition on causing the presentment of false
 claims, "indicate a purpose to reach any person who knowingly assisted in causing
 the government to pay claims which were grounded in fraud, without regard to
 whether that person had direct contractual relations with the government"); United
 States v. Bornstein, 423 U.S. 303,309 (1976) ("It is settled that the [FCA] ... gives
 the United States a cause of action against a subcontractor who causes a prime
 contractor to submit false claims to the Government"); Schmidt, 386 F.3d at 244-
 245 (holding a defendant is liable for a marketing scheme that it knew would result
 in others submitting false claims); United States ex rel. Feldman v. City ofNew York,
 808 F. Supp. 2d 641, 650 (S.D.N.Y. 2011) (It "is well-established that the FCA
 reaches claims that are rendered false by one party, but submitted to the government
 by another."); United States v. President & Fellows of Harvard Coll., 323 F. Supp.
 2d 151, 187 (D. Mass. 2004) (holding "a defendant may be liable if it operates under
 a policy that causes others to present false claims to the government").

                                            13
Case 3:12-cv-07758-ZNQ-JBD           Document 481   Filed 10/18/24   Page 25 of 89 PageID:
                                           30759



 assisted in the presentation of false claims," and therefore "the knowledge and

 conduct of the defendant were what mattered and the outcome did not turn on

 whether the actual presenters were 'duped' or participated in the fraudulent

 scheme." Schmidt, 386 F.3d at 244. Relators presented evidence at trial from which

 the jmy was entitled to conclude that Janssen's illegal conduct caused false claims

 to be submitted to the government, whether by a doctor, a pharmacy, or a Part D

 sponsor, and regardless of the knowledge of any of those downstream parties. Under

 controlling Third Circuit law, no further proof regarding Janssen's influence over

 Part D sponsors is required.

               2.     Individualized proof regarding doctors and claims is not
                      required to establish causation.

        Janssen next argues that Relators failed to present individualized proof at the

 doctor-by-doctor or claim-by-claim level that Janssen's unlawful marketing of

 Prezista and Intelence caused any one doctor to prescribe those drugs, as opposed to

 some other cause. Def. Br. at 12-15. Janssen ignores the relevant FCA authority and

 the entirety of the trial record.

        First, evidence of direct causation at a physician-by-physician or claim-by-

 claim level is not required to prove causation in an FCA case. 13 This Court


 13
   See, e.g., United States ex rel. Colquitt v. Abbott Labs., No. 3:06-CV-1769-M,
 2016 WL 80000, at *7 (N.D. Tex. Jan. 7, 2016) (denying summary judgment on
 causation without requiring evidence that any provider ever relied on information
 provided by defendants); Celgene, 226 F. Supp. 3d at 1040-1041; United States ex
                                             14
Case 3:12-cv-07758-ZNQ-JBD        Document 481      Filed 10/18/24    Page 26 of 89 PageID:
                                        30760



 previously rejected this exact argument. See Dkt. 291 at 19. Janssen's citations to

 inapposite cases addressing the need for individualized proof in the class action

 context do not help its cause. 14

        Second, doctors' alleged independent decision-making does not break the

 causal chain. Relators presented a mountain of evidence that Janssen engaged in a

 nationwide OL       marketing scheme that was designed to influence doctors'

 prescribing behavior. Relators proved that marketing influences doctors generally

 and that Janssen's false and misleading marketing specifically influenced doctors.

 See, e.g., 5//22/24 Tr. 3098:21-2099:5 (Sillup). They further proved that doctors

 specifically influenced by Janssen's hundreds of thousands of marketing contacts

 prescribed Prezista and Intelence OL at double the rate of non-influenced doctors. 15



 rel. Franklin v. Parke-Davis, Div. of Warner-Lambert Co., No. CIV.A. 96-
 11651PBS, 2003 WL 22048255, at *5 (D. Mass. Aug. 22, 2003) ("Franklin IF');
 United States' Statement of Interest, United States ex rel. Brown v. Celgene, 2: 10-
 cv-03165, Dkt. 129 at 13 (C.D. Cal. June 12, 2014), United States' Statement of
 Interest, Celgene, 2:10-cv-03165, Dkt. 328 at 13-14 (C.D. Cal. Aug. 29, 2016)
 ("Indeed, because off label marketing schemes are often large-scale endeavors
 targeting thousands of doctors (who rarely will admit that their medical decisions
 were influenced by a marketing campaign), requiring direct, individualized proof
 would ... embolden drug companies to engage in large scale fraud.").
 14
   See Def. Br. at 13,14 n.4 (citing In re Zyprexa Prods. Liab. Litig., 671 F. Supp. 2d
 397 (E.D.N.Y. 2009)) (discussing, in the structural class action context, the
 Individual Proof Rule that says issues of reliance, loss causation, and injury must be
 proven for each victim); In re Actimmune Mktg. Litig., 614 F. Supp. 2d 1037 (N.D.
 Cal. 2009) (consumer class action alleging RICO violations).
 15
   Janssen feebly attempts to distinguish Neurontin. Def. Br. at 14 n.4; 712 F.3d at
 41--45 (permitting plaintiff "to use statistical data to establish [a] causal relationship"
                                             15
Case 3:12-cv-07758-ZNQ-JBD      Document 481      Filed 10/18/24   Page 27 of 89 PageID:
                                      30761



 See, e.g., 6/3/24 Tr. 5456: 18-5458: 19 (Shaked). In an attempt to rebut this evidence,

 Janssen presented testimony of a few doctors who claimed they did not believe their

 prescribing decisions were influenced by Janssen's OL marketing. The jury was

 entitled to weigh this evidence as it saw fit. See Celgene, 226 F. Supp. 3d at 1037,

 1040 (C.D. Cal. 2016) (holding "a reasonable jury could choose to reject the

 physicians' testimony that Celgene' s marketing efforts did not influence their

 prescribing decisions," in light of evidence of Celgene's systematic OL scheme ). 16

       When all factual inferences are drawn in Relators' favor, it is both natural and

 foreseeable that Janssen obtained its desired result: doctors prescribed more Prezista

 and Intelence OL. See United States ex rel. Cantekin v. Univ. ofPittsburgh, 192 F.3d

 402,416 (3d Cir. 1999) (applying "basic principle[s] of tort law" to the FCA); see

 also Schmidt, 386 F.3d at 244-246 (holding "the intervention of a force which is a



 between fraudulent marketing and OL prescriptions). Like Neurontin, Shaked's
 statistical analyses demonstrate the obvious: Janssen's contacts with doctors caused
 OL prescriptions. Relators' expert witness, George Sillup, and Janssen's own
 documents revealed the same, in addition to other trial witnesses.
 16
   See also Franklin I, 147 F. Supp. 2d at 52-53 (rejecting defendant's argument that
 "the actions of the[] [physicians] were an intervening force that br[ oke] the chain of
 legal causation"); Franklin II, 2003 WL 22048255 at *4-5; In re Avandia Marketing,
 Sales Practices and Prod. Liab. Litig., 804 F.3d 633, 645 (3d Cir. 2015) (RICO); In
 re Neurontin, 712 F.3d at 45 (RICO) ("'Once a plaintiff presents evidence" that his
 injury is the type "that would be the expected consequence of the defendant's
 wrongful conduct,' the burden shifts to the defendant to rebut this causal inference.");
 Def. Br., Ex. 1, at 15 (stating "it is axiomatic" that "the exercise of judgment by the
 decision maker does not prevent the earlier agent's action . . . from being the
 proximate cause of the harm.").

                                           16
Case 3:12-cv-07758-ZNQ-JBD         Document 481     Filed 10/18/24    Page 28 of 89 PageID:
                                         30762



 normal consequence of a situation created by the [defendant's] conduct is not a

 superseding cause of harm"); see also D. Dobbs, et al., Prosser and Keeton on

 Torts§ 44, at 303-04 (5th ed. 1984) ("The courts are quite generally agreed that

 [foreseeable        intervening   forces]   will   not   supersede     the   defendant's

 responsibility."); see also Restatement (Second) of Torts § 443 (1965) ("The

 intervention of a force which is a normal consequence of a situation created by the

 actor's ... conduct is not a superseding cause of harm which such conduct has been

 a substantial factor in bringing about. "). 17

                3.      Relators proved that the submission of claims for
                        reimbursement was reasonably foreseeable or anticipated as
                        a natural consequence of Janssen's conduct.

        Finally, Janssen argues that Relators "did not establish proximate cause." Def.

 Br. at 8, 15-17. This argument is meritless. Proximate cause is embodied within the

 foreseeability prong of the substantial factor test, which Relators have clearly

 satisfied here. See Schmidt, 386 F.3d at 244 (referencing causation principles from

 negligence law to arrive at substantial factor/foreseeability test). The evidence was

 more than sufficient for the jury to determine that the submission of claims for

 reimbursement was reasonably foreseeable or anticipated as a natural consequence


 17
    Similarly, the Part D Sponsors' supposed independent judgment for "weeding out
 prescriptions" does not defeat causation. Relators provided evidence that the
 reimbursement of prescriptions was the intended and normal consequence of
 Janssen's OL marketing scheme. The jurors were entitled to weigh the evidence and
 find causation.

                                              17
Case 3:12-cv-07758-ZNQ-JBD       Document 481      Filed 10/18/24   Page 29 of 89 PageID:
                                       30763



 of Janssen's conduct. In fact, the evidence established that increased prescriptions

 of Prezista and Intelence was the very goal of Janssen's unlawful promotion. See

 Hess, 317 U.S. 537, 543--44 ("The initial fraudulent action and every step thereafter

 taken, pressed ever to the ultimate goal-payment of government money to persons

 who had caused it to be defrauded.").

       There was nothing "indirect," "remote," or "contingent" about Janssen's

 unlawful marketing causing doctors to prescribe Prezista for patients with lipid

 issues, Intelence once-daily, or Prezista and Intelence in treatment-na"ive patients.

 Def. Br. at 15, 17 .18 At trial, Relators provided more than sufficient evidence for the

 jury to conclude that Janssen's nationwide nine-year OL marketing scheme was a

 substantial factor in causing physicians to prescribe Prezista and Intelence, and that it

 was reasonably foreseeable that Janssen's conduct would result in the submission of

 false claims to the government for reimbursement. Under established legal

 precedent, such proof establishes FCA causation.




 18
   Janssen relies on two irrelevant cases, and neither bear on whether Relators here
 satisfied the substantial factor/foreseeability test here. Def. Br. at 15-1 7; see Sidney
 Hillman Health Center of Rochester v. Abbott Laboratories, 873 F. 3d 574 (7th Cir.
 2017) (affirming dismissal of a RICO claim at the pleading stage because, among
 other reasons, plaintiffs lacked relevant data to establish causation); Steamfitters
 Loe. Union No. 420 Welfare Fund v. Philip Morris, Inc., 171 F.3d 912 (3d Cir. 1999)
 (discussing antitrust law in the class action context).

                                            18
Case 3:12-cv-07758-ZNQ-JBD       Document 481     Filed 10/18/24    Page 30 of 89 PageID:
                                       30764



       B.     Relators Presented Substantial Evidence Of Materiality

       The Court instructed the jury that Relators were required to prove that

 "Janssen's alleged off-label marketing violations were material to the Government's

 payment decision," which means that the unlawful promotion "had a natural

 tendency to influence, or was capable of influencing, the payment or receipt of

 money or property." See Dkt. 424-11 at 37 (Instruction No. 19.4, "Materiality").

 Janssen argues that the jury's verdict should be overturned because Relators failed

 to prove materiality. Def. Br. at 17. Because the record was more than sufficient for

 the jury to find that Janssen's unlawful promotion was capable of influencing the

 government payors' payment decision, Janssen's challenge fails.

              1.     Relators introduced overwhelming evidence that Janssen's
                     misconduct could have affected the Government's payment
                     decision.

       Janssen starts its challenge on materiality by cherry-picking the evidence. Def.

 Br. at 17-20. Once again, Janssen inverts the standard for a Rule 50(b) motion and

 ignores the bulk of evidence in the record. The correct standard is whether there was

 sufficient evidence, considered in the light most favorable to Relators, from which

 the jury could find materiality. Relators far exceeded this standard at trial.

       Determining materiality is "a 'holistic,' totality-of-the-circumstances

 inquiry." United States v. Care Alternatives, 81 F. 4th 361, 366-67 (3d Cir. 2023)

 (citing Universal Health Servs., Inc. v. United States ex rel. Escobar, 579 U.S. 176,


                                            19
Case 3:12-cv-07758-ZNQ-JBD     Document 481      Filed 10/18/24   Page 31 of 89 PageID:
                                     30765



 181-182 (2016)). Courts consider factors like "whether the government has

 expressly designated the legal requirement at issue as a 'condition of payment;"'

 "whether the alleged violation is 'minor or insubstantial' or instead goes to the

 'essence of the bargain"' and "whether the government made continued payments,

 or does so in the 'mine run of cases,' despite 'actual knowledge' of the violation."

 Id. (citing Escobar, 579 U.S. at 193 n.5, 194-95).

       First, Relators introduced two separate Corporate Integrity Agreements and a

 Settlement Agreement between Janssen and the government, during the Relevant

 Period, entered into as a result of Janssen's alleged unlawful OL promotion of other

 drugs in violation of FDA laws and the FCA. RX423 (2010 CIA); RX361 (2013

 CIA); RX1624 (2013 Settlement Agreement). This evidence demonstrated that

 Janssen was accused of promoting those drugs with false and misleading statements

 about their efficacy, for uses that were not approved by the FDA, and for indications

 that were not medically accepted in some cases or covered by Medicare, Medicaid

 and other federal healthcare programs. See, e.g., RX1624 at 3-4. This evidence

 shows that, as a result of Janssen's alleged misconduct in connection with its

 unlawful promotion of other drugs, it was required by the government payors to

 return the monies those programs paid out. See id.; see also 5/28/24 Tr. 3821:08-25

 (discussing RX1624 and stating reimbursement of government payors for unlawful

 promotion of drugs in violation of federal law is "the number one condition" in


                                          20
Case 3:12-cv-07758-ZNQ-JBD      Document 481     Filed 10/18/24   Page 32 of 89 PageID:
                                      30766



 resolving that violation) (Evans). This evidence further established that compliance

 with FDA laws prohibiting illegal promotion by a manufacturer of unapproved or

 unsafe uses of its drugs is not "minor or insubstantial" but goes to the "very essence

 of the bargain" between the government and manufacturers. See Escobar, 579 U.S.

 at 193 n.5, 194-95.

       The admissions from Janssen's own witnesses-including its president Glen

 Mattes and national sales director Michael Iacobellis-were equally damning and

 demonstrate defendant's knowledge that the violative conduct proven here was

 material to the government. 19 Mattes admitted that the government takes OL

 marketing by a pharmaceutical company "very seriously." 5/22/24 Tr. 2923:01-09.

 Mattes further admitted that "ultimately, if the government discovered that there was

 off-label marketing that's taking place by a pharmaceutical company and Medicare

 or Medicaid has reimbursed for those drugs," the government "will demand that

 money back" from the manufacturer to resolve the violations. Id. at 10-16 (emphasis

 added); see also Id. at 2930:08-12 ("Q. The point being, sir, if there are products

 that are being sold for reimbursement by Medicare and Medicaid and it turns out




 19
   See United States v. Shulman, 624 F.2d 384, 392 n.17 (2d Cir. 1980) (approving
 district court's instruction that "[a]dmissions or statements by a defendant are among
 the most effectual proofs in law. They constitute the strongest sort of evidence
 against the party making the admissions or statements of the facts[.]").

                                          21
Case 3:12-cv-07758-ZNQ-JBD      Document 481     Filed 10/18/24   Page 33 of 89 PageID:
                                      30767



 that those were sold in violation of the law, the Government is going to come back

 and get its money. A. Yes.") (discussing RX275 at 7) (emphasis added).

       Iacobellis admitted that OL marketing for "a different use case," "a different

 dosage," or to "a different patient population [than] it was intended for" was

 "[a]bsolutely" "not legal." 5/14/24 Tr. 1369:25-1370:21 (emphasis added); RX360

 at 59. He further admitted that state and federal law prohibit the submission of false

 claims to government payors and that Janssen taught its employees that the federal

 government takes such matters seriously. 5/14/24 Tr. 1380: 15-19, 1386: 17-20 ("It's

 very serious and very important, yes.").

       Numerous and detailed exhibits from Janssen's own compliance department

 further proved that Janssen' s unlawful promotion of Prezista and Intelence to doctors

 was material to government payors' payment decisions and that Janssen knew it. A

 sample of those exhibits includes:

    • Janssen acknowledged that the healthcare industry is "unique" because
      it impacts the "health and safety of patients" and the government,
      including Medicare and Medicaid, reimburses a large percentage of all
      prescription products. RX275 at 7 ("The pharmaceutical industry is
      heavily regulated. [T]he government reimburses approx. 60% or more
      of all pharmaceutical products through gov funded programs such as
      medicare and medicaid .... The government is our biggest customer.").

    • Janssen admitted that the government "does not want to cover the cost
      of Rx products when they violate the following: ... False Claims Act
      ... Sell off-label ... Misrepresent product" Id. (emphasis added).

    • Janssen admitted that a manufacturer "may be implicated by the
      government if it purposely provides information to a [health care

                                            22
Case 3:12-cv-07758-ZNQ-JBD    Document 481     Filed 10/18/24   Page 34 of 89 PageID:
                                    30768



       provider] that causes the HCP to submit false or fraudulent claims"
       for the company's products. RX360 at 12 (emphasis added). Its
       documents detailed numerous enforcement actions under the False
       Claims Act against other manufacturers for engaging in off-label
       promotion in violation of FDA regulations. Id. at 21 (Serono
       enforcement action), 22 (Neurontin enforcement action).

    • Janssen knew that False Claims Act laws applied to manufacturers that
      caused false claims for payments to be submitted to government
      programs. Id. at 67.

    • Janssen admitted that CMS considers "the illegal promotion of off-label
      drug usage through marketing, financial incentives, or other promotion
      campaigns" to be a "high risk area for manufacturers in the Part D
      program." DX2069 at 17 ("Guidance Document on Medicare Part D
      Contracting, Sales, and Marketing") (emphasis added). It
      acknowledged that Chapter 9 of CMS's Medicare Prescription Drug
      Benefit Manual describes behaviors that CMS considers to be potential
      fraud by manufacturers "related to the Part D program"-including
      "inappropriate marketing and/or promotion of products . . .
      reimburseable by federal health care programs." Id. at 12 (emphasis
      added); see also 5/29/24 Tr. 4153:03-19, 4154:09-23 (Kaucher)
      (admitting that Janssen itself acknowledged CMS policy identifying
      potential fraud by manufacturer to include "off-label marketing by a
      manufacturer") (emphasis added).

    • Janssen further admitted that "Government enforcement against
      manufacturers allegedly engaged in the promotion of products for off-
      label uses has been active and highly visible." DX2004 at 2 ("Guidance
      Document on the Promotion of FDA-Regulated Products") (emphasis
      added).

       Witness testimony from other fact and expert witnesses further confirmed

 these facts. For example:

    • Relators' compliance expert, Virginia Evans, testified that the
      government flatly "does not cover the cost of prescription products"
      when they have been provided in violation of the False Claims Act.
      5/28/24 Tr. at 3762:5-11 (emphasis added). Pharmaceutical companies
      that disseminate OL information "in a promotional context" "violate
                                        23
Case 3:12-cv-07758-ZNQ-JBD        Document 481     Filed 10/18/24    Page 35 of 89 PageID:
                                        30769



         the False Claims Act" by promoting products for an indication for
         which it has not been approved or is not "medically necessary" or
         "reasonable and necessary." Id. at 3796:01-23 (emphasis added).

      • Evans further testified that, if the government pays for false claims
        under Medicare Part D and Medicaid without knowledge of their
        falsity, "they will then go after and chase-and attempt to recoup that
        money." Id. at 3762:16-20, 3763:15-22 (emphasis added).

      • Sara Strand testified that the federal government flatly "would not pay"
        for any claim that is the result of "illegal off-label marketing" and that,
        if such a claim had been paid, the federal government would require the
        manufacturer to pay the money back to the government. 5/09/24 Tr. at
        905:06-12 (emphasis added).

         Relators further presented extensive evidence that Janssen's false and

 misleading promotion of Prezista and Intelence was illegal under federal law and

 caused physicians to write prescriptions that violated the standard of care for HIV

 patients and thus were potentially harmful. 20




 20
    See 5/30/24 Tr. 4755: 13-4757:23 (Patel) (testifying FDA regulations prohibit
 false and misleading marketing by a manufacturer, including omission of material
 facts or minimizing side effects); DX4263 (Patel-authored compliance document
 describing illegal OL promotion); 5/20/24 Tr. 2285:20-2286:9 (Glatt) ("FDA is
 supposed to protect all Americans from potentially dangerous medications ... [a]nd
 the pharmaceutical industry is required, based upon the FDA rulings and regulations,
 to market their drugs only based upon the label."), 2321:21-2322:1 (marketing
 Intelence to treatment-naYve patients is potentially dangerous), 2333:21-2334:15
 (using Prezista for treatment-naYve patients prior to approval for that group had a
 "potential for harm"), 2414:8-2415:2, 2415:7-8, 2419:6-14 (Prezista lipid claim is
 misleading because Prezista's label clearly lists adverse drug reactions of elevated
 cholesterol, elevated triglycerides and elevated bad cholesterol and "it clearly states
 ... in the label, that this drug impacts in a negative way [a patient's] lipids.").

                                            24
Case 3:12-cv-07758-ZNQ-JBD     Document 481     Filed 10/18/24   Page 36 of 89 PageID:
                                     30770



       The totality of the evidence of the importance to the government of Janssen's

 nationwide, false, and misleading promotion of Prezista and Intelence-and its

 likely effect on the payment decisions of federal and state government payors had

 they known-was overwhelming. The OL Prezista and Intelence prescriptions that

 Janssen caused to be submitted for reimbursement violated express conditions of

 payment. See infra Section I.C.2. Those requirements exist to prevent patient harm

 and fraud on the public fisc. Compliance with FDA laws prohibiting false and

 misleading or off-label marketing likewise protect patient safety and government

 funds. Violations of these laws by manufacturers, which CMS itself considers to be

 fraudulent, mean that the prescriptions are ineligible for reimbursement and the

 government will not pay. If the government learns of the violations after payment

 has been made, it will take action to chase the manufacturer and recoup its payment.

 And promotion of drugs consistent with product labels approved by the FDA, for

 uses that are proven safe and effective, is the "essence of the bargain" between

 manufacturers and the government payors from whom they seek reimbursement.

       Finally, it would be unreasonable to claim that violations that caused damages

 to government payors of over $150 million are minor or insubstantial. United States

 ex rel. Streck v. Takeda Pharm. Am., Inc., 2023 WL 3093476, *3 (N.D. Ill. Apr. 26,

 202 3) (denying defendant's motions for judgment as a matter of law and for a new

 trial and finding materiality established where defendant's FCA violations that


                                         25
Case 3:12-cv-07758-ZNQ-JBD      Document 481     Filed 10/18/24   Page 37 of 89 PageID:
                                      30771



 resulted in a jury verdict of $61 million in damages to the government were not

 "minor or inconsequential").

              2.    There was no evidence that the Government had full
                    knowledge of the fraud and agreed to continue to pay for the
                    drugs.

       Janssen also argues that Relators do not have sufficient evidence of materiality

 because "the Government would have paid the claims with full knowledge of the

 alleged noncompliance." Def. Br. at 18. 21 This argument is baseless and has no

 support in the record. It is also contradicted by the overwhelming evidence Relators

 produced and fails to consider that evidence in the light most favorable to Relators.

       First, Janssen presented no evidence that the Government continued to

 reimburse prescriptions of Prezista and Intelence while having actual knowledge of

 Janssen's OL marketing scheme. Janssen attempts to use the allegations and

 disclosures made in this case (and Ms. Graham's later-filed case) to argue the

 Government knew of its fraudulent scheme. But knowledge of a relator's allegations

 is not the same as full awareness of actual fraud. See Care Alternatives, 81 F.4th at



 21
    Janssen's citation to Petratos, 855 F.3d 481, is easily distinguishable in that the
 Petratos relator conceded "that the Government would have paid the claims with
 full knowledge of the alleged noncompliance[,]" foreclosing any possible finding of
 materiality. Id. at 490. Here, Relators presented extensive evidence that the
 Government would not pay OL prescriptions of Prezista and Intelence. Similarly,
 United States ex rel. Maur v. Hage-Karban, 981 F.3d 516 (6th Cir. 2020), has no
 bearing on the issue of "materiality" under the FCA, as it discusses a completely
 unrelated provision of the FCA, the public disclosure bar, 31 U.S. C. § 3730( e)(4).

                                          26
Case 3:12-cv-07758-ZNQ-JBD      Document 481      Filed 10/18/24   Page 38 of 89 PageID:
                                      30772



 375 ("[W]e will not equate the government's awareness of allegations of fraud with

 'actual knowledge' that fraud occurred."); see also Escobar, 842 F.3d at 112 (1st

 Cir.) ("mere awareness of allegations concerning non-compliance is different from

 knowledge of actual non-compliance''). Janssen's argument would produce an

 illogical result-materiality would never be proven at trial in an FCA case because

 the FCA requires a relator to present their allegations and evidence to the

 government. See 31 U.S.C. §3730(b). 22 Regardless, Janssen presented this argument

 to the jury, which it unsurprisingly rejected.

       Similarly unsupported, Janssen argues that it can be "assumed" that the

 government "would be aware" of the fraudulent promotion of Prezista and Intelence

 here based on the CIAs that provided for oversight by Independent Review

 Organizations ("IRO"). Def. Br. at 21-23. Janssen's unfounded "assumption" is not

 enough to overturn a verdict against it as a matter of law. Moreover, the 2010 CIA

 did not even exist for the first five years of the Relevant Period. And good evidence

 of the fact that the 2010 CIA did not make the Government aware of Janssen's OL

 promotion of other drugs within the J&J organization is the existence of the 2013

 CIA and Settlement Agreement for illegal OL promotion of yet other drugs.

 22
    See also 6/10/24 Tr. 7443:19-7444:6 (THE COURT: "Is that your representation
 to the Court that in a False Claims Act allegation, if a whistleblower reports
 allegations to the government and payments continue, that that somehow equals the
 government deciding that ... they don't care that it's not material to them? Because
 ... this can't be the only FCA case that's ever existed in the United States.").

                                           27
Case 3:12-cv-07758-ZNQ-JBD      Document 481      Filed 10/18/24   Page 39 of 89 PageID:
                                      30773



 Regardless, Janssen fails to cite to any evidence introduced to the jury whatsoever

 showing that the IRO or the Government was aware of Janssen's scheme involving

 Prezista or Intelence in this case. Considered in the light most favorable to Relators,

 Janssen's argument, untethered to the record, does not overcome the substantial

 evidence Relators presented on materiality.

              3.     Janssen's other arguments are irrelevant to the FCA
                     materiality analysis and must be rejected.

       Finally, contrary to Janssen's claims, the White House's policy of "unfettered

 access" to HIV drugs and CMS' s recognition of antiretroviral drugs as one of six

 protected classes of drugs do not give it a "free pass" to commit massive healthcare

 fraud. Janssen's own documents recognize that there is not some sort of government

 exception for fraud because of these policies. See DX2069 (Janssen internal

 document recognizing the fraud and abuse risks for the six protected classes of drugs,

 including HIV medications). As the jury heard, Topamax and Risperdal, which are

 two of the drugs subject to the 2010 CIA and 2013 CIA and settlement, are included

 within the six protected classes of drugs. See 5/21/24 Tr. 2482: 1-10. Jans sen cites

 no caselaw in support of its argument that certain protected classes of drugs are

 outside the reach of the FCA and can therefore be illegally marketed.

       None of Janssen's other arguments justify overturning the jury's finding as to

 materiality. For example, Janssen's assertion that the government would have paid



                                           28
Case 3:12-cv-07758-ZNQ-JBD       Document 481      Filed 10/18/24   Page 40 of 89 PageID:
                                       30774



 for an equally expensive alternative drug to Prezista and Intelence has no support in

 the record and, regardless, is irrelevant to materiality. Janssen's challenge fails.

       C.     Relators Presented Substantial Evidence of Falsity

       Janssen next challenges the "falsity" element, contending that "Medicare does

 not bar coverage of the uses of Prezista and Intelence alleged in this case" and

 Relators "in any event failed to identify any specific false claim." Def. Br. at 24.

       The jury was correctly instructed that "a claim made to a federal health care

 program is false if it seeks reimbursement for a prescription that is not eligible for

 reimbursement." See Dkt. 424-11 at 34 (Instruction No. 19.1, "Falsity"). The jury

 specifically found in Question One that Janssen's "unlawful promotion" of"Prezista

 or Intelence" violated the federal FCA. See Dkt. 435 at 2 (Verdict Form) (emphasis

 added). Janssen's Rule 50(b) challenge as to "falsity" fails if the evidence was

 sufficient to support the jury's verdict as to any one of the four promotional schemes

 alleged. Relators presented more than sufficient evidence that Janssen caused

 hundreds of thousands of claims to be submitted that were ineligible for

 reimbursement because all four of the illegal promotional campaigns violated at least

 one condition of payment, and the jury was entitled to find that Janssen caused the

 submission of false claims.

       Relators first address the basis for liability that Janssen omits: that Janssen's

 "unlawful promotion," in violation of FDA law prohibiting that promotion, itself


                                            29
Case 3:12-cv-07758-ZNQ-JBD     Document 481     Filed 10/18/24   Page 41 of 89 PageID:
                                     30775



 caused the submission of claims that were not eligible for reimbursement. We then

 tum to the two separate, express conditions of payment set forth in the Court's

 instruction that Janssen's illegal conduct also violated: the "medically accepted

 indication" and "reasonable and necessary" provisions in the Court's Instruction No.

 17. Janssen's illegal OL promotion violated all three conditions and therefore caused

 the submission of false claims that were "not eligible for reimbursement."

              1.    Relators proved that Janssen's false and misleading OL
                    promotions in violation of FDA law and regulations caused
                    the submission of claims that violated a condition of
                    reimbursement for federal healthcare programs.

       At trial, Relators proved through both fact witnesses and experts that Janssen

 orchestrated a top-down, nationwide, fraudulent scheme to market Prezista and

 Intelence to physicians OL. The evidence also demonstrated that Janssen

 intentionally minimized dangerous side effects (for example, the "serious adverse

 events" affecting lipids from Prezista) and promoted Prezista and Intelence for

 treatment-na'ive patients and Intelence for once-daily dosing in order to increase

 sales and meet forecasts. Relators further proved that Janssen's OL marketing was

 false and misleading and violated FDA law-a fact that Janssen does not even

 challenge in its Rule 50(b) motion. And Relators proved that Janssen's unlawful

 promotion caused influenced physicians to write OL prescriptions for Prezista and

 Intelence. Finally, through extensive evidence at trial, Relators proved that

 compliance with FDA laws prohibiting false and misleading OL marketing like

                                          30
Case 3:12-cv-07758-ZNQ-JBD      Document 481      Filed 10/18/24   Page 42 of 89 PageID:
                                      30776



 Janssen engaged in here is a condition ofpayment for the government payors, and

 that Janssen is therefore liable because its illegal marketing caused the submission

 of claims for prescriptions that were "not eligible for reimbursement" pursuant to

 the Court's jury instructions. 23 See Final Jury Instructions, Instruction No. 19 .1

 ("Falsity"). The evidence established that Janssen's unlawful promotion caused

 physicians to write prescriptions for Prezista and Intelence that violated the standard

 of care for HIV patients and were potentially dangerous. 24

       The overwhelming evidence presented at trial demonstrated that Janssen not

 only knew that its false marketing was illegal but that the government will not


 23
    Janssen caused claims to be presented to federal and state health care programs
 that were false where the prescriptions were illegal or "misbranded in violation of
 the Food, Drug and Cosmetics Act, 21 U.S.C. §§ 355(a) & (d)." See Dkt 315 at 82-
 83 (Final Pretrial Order). While the Court granted Janssen's Motion in Limine under
 Rule 403 to preclude Relators from referring to the prescriptions at issue in this case
 as "misbranded" because those terms are unduly prejudicial, the Court fully
 recognized that Relators could still prove falsity at trial under the FDCA: "A jury
 finding that the prescriptions were in fact, illegal or misbranded, under the FCA is
 the ultimate finding Relators seek to receive in Count One." See Dkt. 330 at 7 (MIL
 Opinion).
 24
    Under the Food, Drug, and Cosmetic Act ("FDCA"), a drug is misbranded if its
 label is "false or misleading in any particular." See 21 U.S.C. § 352(a). Any
 statements made about a drug by a pharmaceutical manufacturer such as Janssen are
 considered part of the drug's labeling. See 21 U.S.C. § 32l(n). It is plainly illegal,
 and a violation of the core tenet of the government's regulation of pharmaceuticals,
 for a pharmaceutical manufacturer to introduce misbranded drugs into interstate
 commerce or take actions to misbrand drugs that are already in interstate commerce.
 See 21 U.S.C. §§ 33l(a), (b); Id. at§ 352(n); see Dkt. 86 at 12-13 (discussing the
 legal sufficiency of Relators' FDCA allegations creating FCA liability).


                                           31
Case 3:12-cv-07758-ZNQ-JBD       Document 481     Filed 10/18/24    Page 43 of 89 PageID:
                                       30777



 reimburse for prescriptions that are caused to be submitted by a pharmaceutical

 manufacturer through false and misleading promotion that violates FDA law. See

 supra Section LB. I. As the Supreme Court held in Escobar, liability under the FCA

 is not restricted only to a "violation of a contractual, statutory, or regulatory

 provision that the Government expressly designated a condition of payment." 579

 U.S. 176, 190 (2016) ("We conclude that the Act does not impose this limit on

 liability.").

        Rather, the FCA "imposes liability on those who present 'false or fraudulent

 claims' but does not limit such claims to misrepresentations about express

 conditions of payment." Id. at 190-91 (emphasis added). Thus, "a defendant can

 have 'actual knowledge' that a condition is material without the Government

 expressly calling it a condition of payment." Id. at 191; see also United States ex rel.

 Freedom Unlimited, Inc. v. City of Pittsburgh, Pennsylvania, 728 Fed. Appx. 101,

 I 06 (3d Cir. 2018) ("[E]ven though Escobar reaffirmed Wilkins's holding that a

 defendant's failure to comply with certain statutory, regulatory, or contractual

 requirements may violate the FCA, the Supreme Court made clear that those

 requirements need not be express 'conditions of payment' to trigger FCA liability.

 The Supreme Court determined that whether a defendant's failure to comply with

 administrative regulations gives rise to liability requires a determination of whether




                                           32
Case 3:12-cv-07758-ZNQ-JBD       Document 481      Filed 10/18/24    Page 44 of 89 PageID:
                                       30778



 the defendant's non-compliance, if discovered, would have been 'material to the

 Government's payment decision."') (emphasis added).

       Relators' evidence at trial could not have been more on point to establish that

 compliance with FDA law and regulations against false and misleading OL

 promotion is a condition of payment by government payors. See supra Section LB. I.

 The jury was thus entitled to find that (1) prescriptions written as a result of false

 and misleading promotion in violation of FDA law themselves violate a condition

 of reimbursement by government programs, and (2) Janssen therefore violated the

 FCA because its "unlawful promotion" caused physicians to write OL prescriptions

 of Prezista and Intelence that were ineligible for reimbursement. For this reason

 alone, Janssen's falsity challenge fails.

       Moreover, as noted by the two Government Statements of Interest ("SO Is")

 filed in this case, "fraud that corrupts [a physician's prescribing] process by inducing

 physicians to prescribe a drug when they would not do so otherwise is actionable

 under the FCA." Dkt. 75 at 6 (noting that companies can be subject to FCA liability

 "for making false statements that induce a physician to prescribe a drug treatment

 paid for by the United States."); see also Dkt. 4 78 at 2 ( stating "false statements that

 induce a physician to prescribe a particular drug can be actionable under the FCA

 even if the drug is prescribed for an FDA-approved indication"); see also Dkt. 291,

 at I 7 (denying summary judgment and noting that "Relators point to evidence from


                                             33
Case 3:12-cv-07758-ZNQ-JBD        Document 481       Filed 10/18/24   Page 45 of 89 PageID:
                                        30779



 which a jury could conclude that Janssen's OL promotion of Prezista's lipid profile

 misled physicians"). Falsity for FCA liability may be established by identifying a

 scheme that corrupts doctors' exercise of their medical judgment because they relied

 on    false     information      provided      by    the    defendant.    See    United

 States ex rel. Hinkle v. Caris Healthcare, L.P., No. 3:14-CV-212-TAV-HBG, 2017

 WL 3670652 at *2 (E.D. Tenn. May 30, 2017) (concluding "falsity" sufficiently

 pled in an FCA case because "physicians could not legitimately exercise their

 medical judgment because defendants provided false information on which the

 physicians relied.") (citation omitted). 25

        Here, the trial record demonstrated that Janssen's false and misleading

 marketing involved extensive and consistent efforts to mislead physicians regarding

 Prezista's lipid profile and approved patient population as well as Intelence's

 approved dosing and patient population. The jury was entitled to find that Janssen

 caused the submission of false claims as a result of its years-long, nationwide

 fraudulent marketing scheme directed at physicians. Janssen's challenge to falsity

 fails for this reason as well.



 25
    See also Strom ex rel. U.S. v. Scios, Inc., 676 F. Supp. 2d 884, 891 n.2 (N.D. Cal.
 2009) (where government alleged that Johnson & Johnson and its subsidiary, Scios,
 caused false claims to be submitted by fraudulently inducing thousands of doctors
 to submit claims for OL uses of a prescription drug that was not medically accepted
 for those uses, court held that defendants' misrepresentations deprived the
 physicians of the opportunity to "make considered medical judgments.").

                                               34
Case 3:12-cv-07758-ZNQ-JBD       Document 481      Filed 10/18/24   Page 46 of 89 PageID:
                                       30780



                 2.   Relators also proved that certain alleged uses of Prezista 26
                      and Intelence were not for "medically accepted indications."

        Janssen next argues that Relators "failed to proffer evidence" that any claim

 at issue was not "for a medically accepted indication." Def. Br. at 24. This argument

 is meritless.

        Separate and apart from Janssen's violations of FDA law against false and

 misleading promotion of prescription drugs, Relators presented substantial,

 uncontested evidence at trial that prescriptions written for the uses of Prezista and

 Intelence at issue in this case were not for "medically accepted indications" and

 were, therefore, not reimbursable by the government payors. Federal law provides

 for this express condition of payment: Medicare will only pay for a drug that is used

 for a "medically accepted indication" which means any use that is approved by the

 FDA or supported by one of the specified compendia. 42 USC §§ 1396w-102(e),

 1396r-8(k)(6). 27


 26
   Janssen claims that "Relators' principal assertion" is that use of Prezista in patients
 with a lipid condition "was not a medically accepted indication." Def. Br. at 26.
 Janssen, of course, provides no pleading or record citation for this purported
 assertion by Relators because they never made such an assertion. See Dkt. 90
 (Second Amended Complaint); Dkt. 351 (Relators' Trial Brief); Dkt. 330 at 6-7,
 (MIL Opinion). Throughout the course of this litigation and at trial, Relators proved
 that prescribing Prezista for patients with a lipid condition is potentially harmful and
 is not medically necessary or reasonable given the availability of another drug,
 Reyataz, that did not have the same dangerous side-effects.
 27
   In its brief, Janssen attempts to "preserve" its argument that Part D imposes no
 such "medically accepted indication" requirement. Def. Br. at 24 n. 7. This is absurd,
 particularly because Janssen states on the prior page of its brief that "a prescription
                                            35
Case 3:12-cv-07758-ZNQ-JBD      Document 481      Filed 10/18/24    Page 47 of 89 PageID:
                                      30781



       In support, Relators presented lengthy and detailed testimony, including from

 Dr. Glatt-the only expert admitted expert on the standard of care for HIV and its

 application to Prezista and Intelence specifically-to address Janssen's campaigns

 of illegal promotion, including: (1) Prezista for treatment-na'ive patients; (2)

 Intelence for once-a-day ("QD") dosing; and (3) Intelence for treatment-na'ive

 patients. Through this evidence, Relators proved that Janssen's illegal marketing

 caused prescriptions of Prezista and Intelence for treatment-na'ive patients and

 Intelence for QD dosing that were not medically accepted because they were

 contrary to the indications on the FDA-approved label for those drugs and not

 supported in any compendia. 28


 of a Part D drug is covered as long as it is for a 'medically accepted indication. "'
 Id. at 23 (citing 42 U.S.C. §§ 1395w-102(e)(l) & (e)(3)(A)). Janssen cannot claim
 to preserve this issue now when it (1) failed to raise this issue in its Rule 50(a)
 argument at trial and it is therefore waived; and (2) it has actually taken the opposite
 position throughout this litigation, including in its 50(b) argument. See 6/10/24 Tr.
 7434:20-7435:2 (stating Janssen's counsel stated that Medicare Part D covers drugs
 prescribed for a "medically accepted indication").
 28
    See 5/20/24 Tr. 2329:24-2331: 10 (Glatt) (testifying the 2006 Prezista label was
 "indicated" for patients with resistance to "two or more" protease inhibitors),
 2333: 17-20 (testifying the "recognized compendia" did not "support the use of
 Prezista in treatment-na'ive patients" from 2006 to 2008), 2314:15-23 (testifying the
 Intelence label was "indicated" for a "very specific group of experienced patients"
 who "have to be resistant to an NNRTI" and "have resistance to other antiretroviral
 agents, which usually will mean a [protease inhibitor]"), 2318:8-19 (testifying the
 recognized drug compendia say the "[ sJame exact thing" as the guidelines and "do
 not recommend [Intelence] for treatment-na'ive patients"), 2304:2-17 (testifying the
 Intelence label "indicate[ s] that Intelence should be dosed" twice a day), 2307 :9-13
 (testifying the recognized compendia "say the exact same thing" as the DHHS and
 IAS guidelines, "that [Intelence] must be dosed twice a day"); see also Dkt. 424-11
                                           36
Case 3:12-cv-07758-ZNQ-JBD        Document 481   Filed 10/18/24   Page 48 of 89 PageID:
                                        30782



       Janssen's own documents and witnesses admitted that promotion for different

 doses, dosing schedules, uses, patient population, or stage of disease constituted

 prohibited OL promotion of a drug. See RX360 at 59; see also 5/14/24 Tr. at

 1369:25-13 70:21 (Iacobellis).

       Janssen now claims that a "medically accepted indication" refers to the

 "diagnosis or condition" for which a drug is prescribed but not "the dose" being

 prescribed. Def. Br. at 24. To make this argument, which pertains only to the

 Intelence QD dosing promotion, Janssen refers to a 2016 version of the Medicare

 Prescription Drug Benefit Manual referring to dosing but omits the following

 sentence: "Part D sponsors may have dose limitations based on FDA labeling, but

 an enrollee may request (and be granted) an exception to a dose restriction ... based

 on medical necessity criteria." 29

       Janssen introduced no evidence that QD dosing in violation of Intelence's

 label requiring BID dosing was for a "medically accepted indication" and did not

 even argue this point to the jury. Its own former national sales director, Michael

 Iacobellis, admitted that prescribing Intelence for once-daily dosing was contrary to




 at 25 (Instruction No. 17, "Overview of Relators' Claims"). Janssen does not argue
 that any of the OL uses of Prezista or Intelence at issue were referenced in any drug
 compendia.
 29
   See Manual ch. 6 § 10.6 (issued, effective, and implemented in January 2016)
 (emphases added).

                                          37
Case 3:12-cv-07758-ZNQ-JBD      Document 481      Filed 10/18/24   Page 49 of 89 PageID:
                                      30783



 the drug's label and that messages promoting Intelence for QD dosing were "off-

 label" and would not be approved by the FDA. 05/14/24 Tr. 1461: 1-21. The

 definition for "medically accepted indication" provided to the jury by the Court in

 its instructions was drawn directly from the statute, and Relators' evidence

 conformed to that statutory definition.

       Moreover, for the Prezista and Intelence in treatment-na"ive patients

 promotions, the FDA-approved labels for both drugs stated, in the "Indications and

 Usage" section, that the "safety and efficacy" of those drugs had not been established

 for treatment-na"ive patients. 30 By definition, those drugs were not FDA-approved

 for use in treatment-na"ive patients and any prescriptions for those patients would not

 be for a "medically accepted indication."

       Janssen attempts to inject-yet again-the "Part D plan sponsor" into the

 equation, this time for the "falsity" element. It argues that Relators were required to

 introduce "evidence of final determinations on the coverage questions from Part D



 30
    See RX1148 at 14 (Prezista "Indications and Usage") (for "antiretroviral
 treatment-experienced adult patients, such as those with HIV- I strains resistant to
 more than one protease inhibitor") (emphasis added); DXI 045A at 2 (Intelence
 "Indications and Usage" 2008) ("for the treatment of HIV-I infection in treatment-
 experienced adult patients, who have evidence of viral replication and HIV- I strains
 resistant to an NNRTI and other antiretroviral agents") (emphasis added); DX4232
 at 110 (Intelence "Indications and Usage" 2010) ("for the treatment of HIV-I
 infection in treatment-experienced adult patients, who have evidence of viral
 replication and HIV- I Strains resistant to an NNRTI and other antiretroviral agents")
 (emphasis added).

                                           38
Case 3:12-cv-07758-ZNQ-JBD      Document 481      Filed 10/18/24    Page 50 of 89 PageID:
                                      30784



 plan sponsors themselves" or expert testimony on that topic. Def. Br. at 24-25. As

 previously discussed in addressing Janssen's causation arguments, above, proof of

 the Part D plan sponsors' "final determinations" on coverage are not an element of

 an FCA violation and never have been. 31

       Moreover, under the FCA, Janssen is liable for causing false claims for

 payment to be presented to an agent of the United States or made to its contractor. 32

 Janssen is therefore liable whether it was a substantial factor in causing false claims

 to be submitted to the Part D plan sponsors themselves or in causing the Part D plan


 31
   See Dkt. 291 at 15-16 ("In cases where a relator alleges the defendant caused the
 submission of false claims rather than submitting the claims itself, legal falsity
 nevertheless exists because the defendant 'created and pursued a marketing scheme
 that it knew would, if successful, result in the submission by [others] of compliance
 certifications ... that [the defendant] knew would be false.") (citing United States
 ex rel. Schmidt v. Zimmer, Inc., 386 F.3d 235, 244 (3d Cir. 2004)).
 32
    See United States ex rel. Webb v. Miller Fam. Enter., No. l:13-CV-00169-DBH,
 2014 WL 6611012, at *9 n.9 (D. Me. July 2, 2014) report and recommendation
 adopted sub nom, Webb ex rel. United States v. Miller Fam. Enter., No. l:13-CV-
 00169-DBH, 2014 WL 6611065 (D. Me. Nov. 20, 2014) (FCA liability attaches
 when a false claim is presented to a plan sponsor as a contractor for the government)
 ("Defendants have not provided reliable authority for the proposition that a false
 claim cannot be premised on a knowing violation of a contract provision simply
 because the contract is with a plan sponsor rather than a governmental agency. The
 mere presence of a private party intermediary does not insulate Defendants from
 potential FCA liability.") (citing 31 U.S.C.A. § 3729(b)(2)(A)(ii)) (emphasis added);
 31 U.S.C. § 3729(a)(l)(A) and (B) (FCA liability attaches for causing to be
 presented false claims or false records material to a false claim); Id. § (b )(2)(A)(ii)
 (defining "claim" to include those made to a contractor on government's behalf for
 reimbursement from federal funds); see also United States ex rel. Kester v. Novartis
 Pharmaceuticals Corp., 41 F. Supp. 3d 323, 337 (S.D.N.Y. 2014) (stating CMS
 contracts with Part D plan sponsors to administer prescription drug plans).

                                            39
Case 3:12-cv-07758-ZNQ-JBD      Document 481     Filed 10/18/24   Page 51 of 89 PageID:
                                      30785



 sponsors to submit claims to CMS. 33 The FCA does not require proof of the Part D

 plan sponsor's "coverage determinations" for any element, including falsity.

 Because the evidence was more than sufficient for the jury to determine that

 Janssen's illegal OL marketing was a substantial factor in causing the submission of

 false claims to CMS, its attempt to exploit an intermediary loophole fails.

       Janssen attempts to save its "medically accepted indications" argument with

 an irrelevant discussion of the Eastern District of New York's decision in Polansky,

 914 F. Supp. 2d 259 (2012); Def. Br. at 29-31. As discussed in the causation section,

 see supra Section I.A, that decision is wholly inapplicable to whether Janssen's

 unlawful promotion caused prescriptions to be written for indications that were not

 medically accepted. In Polansky, the labels for Lipitor included references to

 guidelines that were merely advisory, were not incorporated into the label, and had

 no bearing on whether the prescriptions were for medically accepted indications. Id.

 The prescriptions there were not OL prescriptions at all. Here, to the contrary-and

 as Dr. Glatt testified and Janssen did not even contest at trial-prescribing Intelence




 33
    See United States ex rel. Buth v. Pharmerica Corp., No. 09-C-0720, 2014 WL
 4355342 at *6 (E.D. Wis. 2014) ("That the plan sponsors [rather than the defendant]
 filed the PDEs with CMS is irrelevant because liability attaches to any person who
 'causes to be presented' a false or fraudulent claim.").

                                          40
Case 3:12-cv-07758-ZNQ-JBD        Document 481     Filed 10/18/24   Page 52 of 89 PageID:
                                        30786



 for once-daily dosing or Prezista and Intelence for treatment-na'ive patients was

 directly contrary to the drugs' labels. 34

       Finally, Janssen resorts to policy argument and reference to national

 guidelines that have no bearing whatsoever on the fact that the illegally promoted

 uses of Prezista and Intelence in question were not for "medically accepted

 indications." Def. Br. at 31-33. It also ignores the fact that Janssen induced

 thousands of doctors to write these prescriptions in violation of the national

 guidelines and standard of care for HIV patients, as Dr. Glatt testified. 35




 34
    See also RX 1148 at 14 (Prezista "Indications and Usage") (for "antiretroviral
 treatment-experienced adult patients, such as those with HIV-1 strains resistant to
 more than one protease inhibitor") (emphasis added); DXI 045A at 2 (Intelence
 "Indications and Usage" 2008) ("for the treatment of HIV-1 infection in treatment-
 experienced adult patients, who have evidence of viral replication and HIV-1 strains
 resistant to an NNRTI and other antiretroviral agents") (emphasis added); DX4232
 at 110 (Intelence "Indications and Usage" 2010) ("for the treatment of HIV-1
 infection in treatment-experienced adult patients, who have evidence of viral
 replication and HIV-1 Strains resistant to an NNRTI and other antiretroviral agents")
 (emphasis added).
 35
    See, e.g., 5/20/24 Tr. (Glatt) 2331:11-2333:16 (testifying the DHHS and IAS
 guidelines, which set forth the standard of care, stated that there was "insufficient
 data to recommend [Prezista's] usage" in na'ive patients), 2314:25-2315: 15
 (testifying the DHHS guidelines have "a strong statement" that Intelence "cannot be
 recommended as part of an initial therapy" and to "not use it ... unless you meet the
 small niche population"), 2317:25-7 (testifying the IAS guidelines say the "[ e]xact
 same thing as the DHHS guidelines," that Intelence "should not be used in treatment-
 na'ive patients"), 2305:24-2306:3 (testifying that the DHHS and IAS guidelines
 "both say the exact same thing, that [Intelence] [is] always recommended to be taken
 twice daily").

                                              41
Case 3:12-cv-07758-ZNQ-JBD      Document 481     Filed 10/18/24   Page 53 of 89 PageID:
                                      30787



       There was substantial evidence for the jury to find that Janssen caused doctors

 to submit claims for uses of Prezista or Intelence that were not for "medically

 accepted indications"-an express condition of payment set forth in Instruction No.

 17-and were therefore false claims because they were not eligible for

 reimbursement. Janssen's challenge on this ground must be denied.

              3.    Relators proved that the alleged uses of Prezista and
                    Intelence were not "reasonable or necessary."

       As provided by the law and consistent with the Final Jury Instructions,

 Medicare "[ c]overage for drugs may ... be excluded if they are not reasonable and

 necessary for the diagnosis or treatment of illness or injury." See Dkt. 424-11 at 25

 (Instruction No. 17, "Overview ofRelators' Claims"); see also 42 USC§§ 1395w-

 102(e)(3), 1395y(a)(l)(A). Relators' evidence at trial clearly established the falsity

 of the claims for Prezista and Intelence because the alleged uses promoted by Janssen

 were not reasonable or necessary for the treatment of HIV patients. 36

       In their last gasp on the "falsity" element, Janssen makes two arguments, both

 of which are unavailing. First, Janssen contends that plan sponsors have discretion

 in deciding whether to apply the "reasonable and necessary" requirement and, thus,

 Relators needed to-yet failed-to prove that any plan sponsors would have "elected"



 36
   This Court has twice ruled that a party can prove a claim is legally false for
 purposes of the FCA by proving that the underlying prescription was not reasonable
 and necessary. See Dkt. 86 at 8-9; Dkt. 291 at 16.

                                          42
Case 3:12-cv-07758-ZNQ-JBD      Document 481     Filed 10/18/24   Page 54 of 89 PageID:
                                      30788



 to apply this requirement. Just as with its causation arguments, see supra Section

 I.A, Janssen provides no authority for this "Part D plan sponsor" proposition as to

 the falsity element.

       Regardless, Relators introduced evidence at trial that CMS requires Part D

 plan sponsors to apply the medically "reasonable and necessary" standard as a

 condition of payment. See RX1188 at 1, 20 ("CMS Instructions: Requirements for

 Submitting Prescription Drug Event Data") ("Except for smoking cessation drugs,

 Part D drugs must be prescribed for the purposes allowed under§ 1862(a) and§

 1927(d)(2) (e.g., reasonable and necessary guidelines, exclusion of drug classes

 used for weight loss or cosmetic surgery )") (emphasis added); see Social Security

 Act§ 1862(a), 42 U.S.C. § 1395y ("no payment may be made under part A or part

 B for any expenses incurred for items or services ... (1 )(A) which, except for items

 and services described in a succeeding subparagraph, are not reasonable and

 necessary for the diagnosis or treatment of illness or injury or to improve the

 functioning of a malformed body member") (emphasis added). Janssen introduced

 absolutely no evidence to the contrary. The jury was thus entitled to find that Part D

 plan sponsors would have followed those instructions and would not have approved

 prescriptions that are not medically reasonable and necessary per CMS' s directive.

       Moreover, Janssen again fails to recognize that a claim is also false under the

 FCA when Janssen induced false claims to be submitted, whether to or by the Part


                                          43
Case 3:12-cv-07758-ZNQ-JBD     Document 481     Filed 10/18/24   Page 55 of 89 PageID:
                                     30789



 D plan sponsor as the contractor for the govemment. 37 See supra Section I.C.2 at

 40. And in a case like this, that makes perfect sense. Where Janssen's false and

 misleading marketing caused physicians to write medically unnecessary and

 unreasonable prescriptions for Prezista and Intelence, the fact of that illegal

 influence on the physician's medical judgment is not even disclosed to the Part D

 plan sponsor or to CMS. In fact, as Janssen itself put into evidence and repeatedly

 argued at trial (presumably for another purpose), for HIV drugs and others in

 protected classes, Part D plan sponsors were not even permitted to use the drug

 utilization tools or quality assurance measures they are contractually required to

 leverage for all other drugs in order to discover whether the Prezista or Intelence

 prescriptions were medically reasonable or necessary. See Tr. 825:24-830: 17

 (Strand) (CMS prohibiting use of utilization management tools for HIV drugs);

 DX8606.




 37
   See Buth, 2014 WL 4355342 at *6 ("That the plan sponsors filed the [prescription
 drug events] with CMS is irrelevant because liability attaches to any person who
 "causes to be presented" a false or fraudulent claim. The United States is not
 contending that the plan sponsor knowingly presented the false claim but rather that
 [defendant] knowingly 'caused the claim' to be presented by the plan sponsor who
 then sought payment from the government. Such allegations comport with the
 statutory language and are supported by case law holding a subcontractor liable
 under the FCA for causing a subcontractor to submit claims seeking payment for
 materials that-unbeknownst to the contractor-were labeled incorrectly.")
 (emphasis added).

                                         44
Case 3:12-cv-07758-ZNQ-JBD      Document 481     Filed 10/18/24   Page 56 of 89 PageID:
                                      30790



       Instead, as the jury heard, the Part D program is "trust-based" and the Part D

 sponsors, facing a "fire hose" of claims for the government to pay within a short

 period of time, might approve claims while being unaware that the prescriptions for

 the drugs in question are not reasonable and necessary or otherwise violate the FCA.

 See Tr. 3762:05-3763:22 (Evans). Where the government later learns that the claims

 submitted were false, it will "chase" the manufacturer and seek to recoup the monies

 it reimbursed. Id. The jury was entitled to infer, based on the evidence presented at

 trial, that the nature of the fraudulent conduct by Janssen here deprived the Part D

 plan sponsors and CMS of the ability to determine whether the claims for Prezista

 and Intelence were reasonable and necessary to begin with.

       More importantly, the jury was entitled to conclude-based on the availability

 of other drugs, the violations of the standard of care, the potential for patient harm

 attested to by Dr. Glatt, and the government payors' policies against false and

 misleading marketing by a manufacturer-that even if the decision to cover a drug

 that is not "reasonable and necessary" were in the discretion of the plan sponsors,

 they would not have approved the claims for payment had they known of Janssen's

 fraudulent conduct. As the factfinder, the jury was entitled to make these

 determinations.

       Janssen next argues that Relators failed to prove that any prescription was not

 "reasonable and necessary" for the "individual patient" based on "accepted standards


                                          45
Case 3:12-cv-07758-ZNQ-JBD      Document 481     Filed 10/18/24   Page 57 of 89 PageID:
                                      30791



 of medical practice and the medical circumstances of the individual case." Def. Br.

 at 35 (citing Petratos, 855 F.3d at 488). Janssen has consistently misconstrued the

 holding of Petratos and this Court has, at every stage, rejected Janssen's

 interpretation that it requires individualized patient-by-patient level of proof. See

 Dkt. 291 at 17-19 (Sum. Judgment Op.); see also Dkt. 86 at 9 (Mot. to Dismiss Op.).

       The Third Circuit in Petratos found that the statutory "medically accepted

 indication" and "reasonable and necessary" conditions were separate and distinct,

 disagreeing with the district court's conclusion that they were coterminous. 855 F.3d

 at 487-88. In so holding, the court specifically found that a drug could be prescribed

 for a "medically accepted indication" but still not be "reasonable and necessary"

 based on "standard medical practice." Id. at 488. Thus, physicians play an important

 role in determining whether a prescription is "reasonable and necessary" for a

 patient. That holding certainly does not help Janssen.

       The facts of this case demonstrated that Janssen's false and misleading

 marketing, persistent and pervasive to more than 5,000 influenced HIV doctors,

 affected doctors' medical judgment, leading to rates of OL prescribing of Prezista

 and Intelence that were far in excess of non-influenced physicians. The testimony

 from Dr. Glatt established that the OL prescriptions from these physicians for

 Prezista and Intelence, and the prescriptions for Prezista for patients with lipid

 issues, violated the standard of care for those HIV patients and could have subjected


                                          46
Case 3:12-cv-07758-ZNQ-JBD       Document 481     Filed 10/18/24   Page 58 of 89 PageID:
                                       30792



 patients to cardiac injuries. 38 The jury was entitled to find that Janssen caused

 doctors to submit prescriptions of Prezista or Intelence for reimbursement that were

 not medically reasonable or necessary for those patients or uses-particularly given

 the availability of alternative drugs.

       Dr. Glatt's testimony was not controverted by any expert proffered by

 Janssen. 39 Nothing in Petratos holds that, for the nationwide fraudulent marketing

 scheme perpetrated by Janssen in this case, only individualized proof across

 hundreds of thousands of prescriptions would suffice for Relators to prove their

 claims. Instead, the jury was entitled to credit Dr. Glatt's testimony regarding the

 standard of care for the treatment of all HIV patients by all physicians, together with

 the extensive evidence of the effects of Jans sen' s marketing, the claims data for CMS

 and ADAP, and the statistical evidence of physicians' prescribing behavior, and




 38
    See 5/21/24 Tr. 2447:3-7 (Glatt) (testifying that prescribing Prezista to "lipid-
 impacted HIV patients" would "violate the standard of care"); see also 5/20/24 Tr.
 2313: 10-14 (testifying that prescribing Intelence "once a day" would violate the
 "accepted standard of care"), 2324:3-6 (testifying that prescribing Intelence "in
 treatment-naYve patients" would "[ c]ertainly" violate "the prevailing standard of
 care"), 2333:5-10 (testifying that, between 2006 and 2008, prescribing "Prezista in
 naYve patients" would violate the "standard of care"), 2433:20-2434:12 (testifying
 regarding published study in 201 7 "that specifically shows that outcome of cardiac
 events, no longer lipid problems, but the cardiac injuries were higher in the Prezista
 group than in the Reyataz group.").
 39
   United States ex rel. Druding v. Care Alternatives, 952 F.3d 89, 100-1 (3d Cir.
 2020) (holding that falsity can be established through an expert's testimony).

                                           47
Case 3:12-cv-07758-ZNQ-JBD       Document 481    Filed 10/18/24   Page 59 of 89 PageID:
                                       30793



 conclude that certain prescriptions for Prezista or Intelence were not medically

 reasonable or necessary.

       While Janssen points to some evidence at trial that it believes undermined

 Relators' claims, see Def. Br. at 35-36, that is jury argument again. The jury was

 entitled to credit or discredit the uncontroverted testimony of Relators' expert, Dr.

 Glatt, or of certain influenced physicians called by Janssen, and render its verdict-

 which is exactly what it did.

       Janssen's Rule 50(b) challenge based on the "reasonable and necessary"

 requirement fails.

              4.      Relators identified hundreds of thousands of false claims.

       Finally, Janssen argues that Relators did not provide evidence of "at least one

 false claim" submitted for payment to CMS. Def. Br. at 37. This argument is

 meritless.

       Relators introduced the entirety of the CMS claims data (for Medicaid Part D

 claims and Medicaid claims) and ADAP claims data at issue in this case as exhibits

 through data expert Ian Dew. The exhibits containing the data from those databases

 and specific pharmacies were admitted into the record without objection. 40 Dew

 described in detail the data that he gathered, including "claims submitted to


 40
    See 5/31/24 Tr. 5223:24-5224:18; RX1480 ("CMS claims data"); DX5005
 ("ADAP data"); RX487 ("data from BioScrip"); DX5009 ("RiteAid data"); RX1003
 ("Walgreens-related data").

                                          48
Case 3:12-cv-07758-ZNQ-JBD     Document 481      Filed 10/18/24   Page 60 of 89 PageID:
                                     30794



 government healthcare programs, in particular, pharmacy claims for Prezista and

 Intelence." See 5/31/24 Tr. 5221:21-5222:04. He analyzed 88 million Part D

 "prescription drug event" ("PDE") records for the claims in this case and 226 million

 Medicaid claims. 41 Id. at 5225:18-25. Dew received all ADAP data in aggregate

 form for claims by drug and state for 2008 through 2014. Id. at 5226:06-16. Shaked

 then attested to the number of false claims and damages based upon the data

 analyzed and summarized by Dew. See Tr.5410:12-5411:05.

       Given the actual claims data in the record, attested to by an expert in data

 analysis in FCA cases and a statistics and damages expert who relied on that data,

 Janssen's vague assertion that Relators did not provide evidence of a "single false

 claim" is baseless.

       Janssen's Rule 50(b) challenge as to falsity should be denied.

 II.   RELATORS PROVED THEIR "STATE-LAW" CLAIMS

       Janssen next argues that Relators (1) "failed to establish the coverage

 requirements" for ADAP and state Medicaid plans; and (2) "failed to prove the

 elements of any of their claims as to these programs." Def. Br. at 38. Because the




 41
    See Buth, 2014 WL 4355342 at *6 ("Essentially, each PDE submitted to CMS is
 a summary record documenting the final adjudication of a dispensing event based
 upon claims received from pharmacies and the data in PDEs are data related to the
 payment of claims.") (emphasis added).

                                          49
Case 3:12-cv-07758-ZNQ-JBD         Document 481   Filed 10/18/24   Page 61 of 89 PageID:
                                         30795



 record contained sufficient evidence to support the jury's findings, Janssen's Rule

 50(b) challenge fails here too.

        A.     Relators Proved That the OL Prezista and Intelence Prescriptions
               were Ineligible for Reimbursement by ADAP and Medicaid.

        The jury was instructed on the elements of the federal FCA. See Dkt. 424-11

 at 33-3 7 (Instruction Nos. 19-19 .4). The Court further instructed the jury that those

 elements likewise apply to the States' FCAs (with the exception of Texas, for which

 the jury was provided separate instructions). See Dkt. 424-11 at 42--43 (Instruction

 No. 23, "State Law Claims"). The jury was specifically instructed that the state-law

 claims apply only to state Medicaid programs and that, if the jury found that Janssen

 violated the federal FCA, it must also find that Janssen violated the state-law

 analogs. Id. 42


 42
    Janssen improperly includes Relators' ADAP claims in its "state-law claims"
 challenge. ADAP is a federally funded program. See AIDS Healthcare Foundation,
 Inc. v. Okaloosa AIDS Support and Informational Services, Inc., No. 4:23CV230-
 MW/MAF, 2023 WL 11926188 at *l (N.D. Fl. Oct. 10, 2023) ("Under the Ryan
 White Program, the federal government, through the Department of Health and
 Human Services (HHS), provides grants to state governments for services-
 including medical care, case management, and prescription funding-to low-income
 individuals living with HIV/AIDS."); United States v. AIDS Healthcare Foundation,
 Inc., No. 14-CV-61301-KMW, 2016 WL 11783286 at *3, n.8 (S.D. Fl. July 19,
 2016) ("The Ryan White CARE Act, 42 U.S.C. § 300ff et seq., as amended,
 establishes a grant program administered by two divisions of the Department of
 Health and Human Resources ('HHS'): the Health Resources and Services
 Administration ('HRSA') and the Centers for Disease Control and Prevention
 ('CDC'). HRSA and CDC provide federal funds to community-based organizations,
 either directly or indirectly, through State or local agencies, for programs designed
 to expand medical care for people living with HIV/AIDS and to increase awareness
                                           50
Case 3:12-cv-07758-ZNQ-JBD      Document 481      Filed 10/18/24   Page 62 of 89 PageID:
                                      30796



       These instructions were correct. See Dkt. 424-1 at 79-80 (Parties' Jointly

 Proposed Jury Instructions). As Janssen itself acknowledges, federal and state FCA

 claims "succeed or fail together" where "no party has alleged a material difference

 between the standards applicable to the FCA and equivalent state laws." Def. Br. at

 42 (citing United States ex rel. Travis v. Gilead Scis., Inc., 596 F. Supp. 3d 522, 543

 n. 159 (E.D. Pa. 2022)); see also United States ex rel. Petratos v. Genentech, Inc.,

 141 F. Supp. 3d 311,322 (D.N.J. 2015). Because the record was more than sufficient

 for the jury to find that Janssen's unlawful promotion violated the federal FCA,

 Janssen's challenge to the "state-law" claims fails.

       First, ample evidence at trial, see supra Section LB. I, established that

 compliance with FDA laws prohibiting manufacturers' false and misleading

 promotion of drugs-which caused prescriptions that violated that standard of care

 for HIV patients and were potentially harmful-was a condition of reimbursement

 for all the government payors in this case. Janssen's false and misleading promotion

 of Prezista and Intelence therefore caused physicians to submit claims for payment

 to ADAP and state Medicaid plans that were not eligible for reimbursement. See

 supra Section I.A. The evidence further established that Janssen's unlawful




 of HIV status."). Relators address Janssen's ADAP arguments here for ease of
 reference only.

                                           51
Case 3:12-cv-07758-ZNQ-JBD      Document 481     Filed 10/18/24   Page 63 of 89 PageID:
                                      30797



 promotion was material to the government payors. See supra Section I.B. Janssen's

 challenge to Relators' ADAP and Medicaid claims fail for these reasons alone.

       Janssen's challenge to the "state-law" claims skips this point entirely and

 proceeds directly to express "conditions of payment" for the state Medicaid and

 ADAP programs. Def. Br. at 38. It argues that "Relators failed even to identify the

 requirements of these programs, much less prove them[.]" Id. (emphasis in original).

 That argument is unfounded. 43

       The Court instructed the jury on certain express conditions of payment for

 Medicare Part D, Medicaid, and ADAP programs depending on whether the drugs

 are prescribed for a "medically accepted indication" or are medically "reasonable

 and necessary." See Dkt. 424-11 at 25 (Instruction No. 17, "Overview of Relators'

 Claims"). It further instructed the jury that a claim made to a federal health care

 program is false if it seeks reimbursement for a prescription that is not eligible for

 reimbursement." Id., at 34 (Instruction No. 19.1, "Falsity").

       Ignoring the evidence Relators presented in conformity with these

 instructions, Janssen argues that state Medicaid programs "may exclude or otherwise



 43
   Janssen's repeated arguments that Relators had a burden to "prove" an instruction
 that the Court provided the jury on express conditions of payment for Medicare,
 Medicaid, and ADAP is not only wrong, it is intentionally wrong-and Janssen has
 waived any objections to the Court's jury instructions on coverage requirements. See
 Relators' Brief in Opposition to Janssen's Motion for New Trial, filed
 contemporaneously, which Relators incorporate herein by reference.

                                          52
Case 3:12-cv-07758-ZNQ-JBD      Document 481     Filed 10/18/24   Page 64 of 89 PageID:
                                      30798



 restrict coverage" of a drug because the prescribed use is not for a "medically

 accepted indication" and that ADAP imposes "no restriction on off-label uses of

 HIV drugs[.]" Def. Br. at 39 (emphasis in original). Thus, Janssen contends that

 Relators failed to make a "showing" that the statutory requirements of either

 program rendered the prescriptions for Prezista and Intelence false. Id. at 40.

       At the outset, Janssen's assessment of the express conditions of payment for

 the States' Medicaid programs and ADAP are incorrect. See Polansky, 822 F.3d at

 615 ("Federal reimbursement for prescription drugs under Medicare and Medicaid

 is generally limited to drugs prescribed for FDA-approved (on-label) uses or for

 certain purposes included in any of three drug compendia."). Moreover, every one

 of the states at issue in the case requires, as a condition of reimbursement, that a

 prescription be "medically necessary" for the patient. 44 And contrary to Janssen's




 44
   See Exhibit B, attached hereto, referencing applicable state authority. See also
 United States ex rel. Gardner v. Vanda Pharmaceuticals, Inc., 554 F. Supp. 3d 146,
 159, 161 (D.D.C. 2021) ("Most, if not all, State Medicaid programs exclude
 coverage for drugs that are used for off-label indications that are not medically
 accepted. Such use can waste Medicaid funds on ineffective treatments.") (quoting
 CMS policy document, "Off-Label Pharmaceutical Marketing: How to Recognize
 and Report It," available at             https://www.cms.gov/medicare-medicaid-
 coordination/fraud-prevention/medicaid-integrity-education/downloads/ off-label-
 marketing-factsheet. pdf, demonstrating that on-label use for medically accepted
 indications is a "condition of payment under Medicaid")

                                          53
Case 3:12-cv-07758-ZNQ-JBD     Document 481     Filed 10/18/24   Page 65 of 89 PageID:
                                     30799



 assertions, ADAP will not cover claims for prescription drugs that are not for

 "medically accepted indications" or are not medically necessary. 45

       Moreover, the evidence before the jury demonstrated that Janssen itself knew

 that government health care programs do not cover prescriptions caused by OL

 marketing that are not proven "safe and effective" by the FDA, are not prescribed

 45
    See Ryan White HIV/AIDS Program, AIDS Drug Assistance Program (ADAP)
 Manual,                   at                  9,                13,               44,
 https: //ryanwhite.hrsa.gov/sites/default/files/ryanwhite/resources/adap-manual.pdf
 (stating ADAP recipients must comply with "federal grant requirements as found
 in" 45 C.F.R. § 75.403(a) and 2 C.F.R. § 200.403(a), "must ensure" patients are
 treated "consistent with the current HHS treatment guidelines," must "acquire drugs
 'in the most economic manner feasible"' as in 42 C.F.R. 50.504 and 42 U.S.C. §
 256b, and excluding drugs from coverage "used when there is no medically accepted
 indication" and incorporating by reference the Medicaid Statute, 42 U.S.C. § 1396r-
 8(k)(2)); see also Ryan White HIV/AIDS Program, AIDS Drug Assistance Program
 (ADAP) Manual, at 7, 12, 50, https://targethiv.org/sites/default/files/file-
 upload/resources/ADAP%20Manual%XXX-XX-XXXX.pdf (same); see also Ryan
 White HIV/AIDS Bureau, Division of State HIV/AIDS Programs, AIDS Drug
 Assistance       Program       (ADAP)         Manual,     at     7,    20,    83-85,
 https://www.govinfo.gov/content/pkg/GOVPUB-HE20-PURL-
 gpo60655/pdf/GOVPUB-HE20-PURL-gpo60655.pdf (same); see also Ryan White
 HIV/AIDS Program, Clarifications Regarding Medicaid-Eligible Clients and
 Coverage of Services, Policy Clarification Notice (PCN) # 13-01, at 3 (revised Dec.
 13, 2013), https://ryanwhite.hrsa.gov/sites/default/files/ryanwhite/grants/1301-pcn-
 medicaid-eligible.pdf (stating ADAP "funds may be used to pay for any medically
 necessary services which Medicaid does not cover or only partially covers"), see
 also Ryan White HIV/ AIDS Program, Frequently Asked Questions - Policy
 Clarification Notices (PCNs) 15-03 and 15-04, at 5 (March 21, 2016),
 https://ryanwhite.hrsa.gov/sites/default/files/ryanwhite/grants/faq-15-03-15-04.pdf
 (same); see also Ryan White HIV/ AIDS Program Services: Eligible Individuals &
 Allowable Uses ofFunds, Policy Clarification Notice (PCN) #16-02 (Oct. 22, 2018),
 https://ryanwhite.hrsa.gov/sites/default/files/ryanwhite/grants/service-category-
 pcn-16-02-final.pdf (stating costs charged to ADAP funds "must be necessary and
 reasonable").

                                          54
Case 3:12-cv-07758-ZNQ-JBD      Document 481      Filed 10/18/24   Page 66 of 89 PageID:
                                      30800



 for "medically accepted indications," or are the product of "false and misleading

 statements about the safety and efficacy" of a drug. RX1486 at 2--4 (including

 Medicare, Medicare, and other federal healthcare programs); see also 5/23/4 Tr.

 3762:05-16 (Evans) (government payors include Medicare and Medicaid),

 3796:01-24 (government will not pay for "medically unnecessary" drugs or drugs

 that are not "reasonable and necessary" by rule); 3812: 04-3 813: 19 (discussing

 Janssen settlement for OL marketing of other drugs in violation of Medicare and

 Medicaid conditions of payment), 3819:13-3824:05 (same); see also supra Section

 I.C.2-3.

       Relators' expert, Dr. Glatt, testified extensively regarding the medically

 accepted indications for Prezista and Intelence, the requirements that prescribed

 drugs be proven safe and effective, the standard of care for HIV patients, and the

 potential for patient harm as a consequence of the prescriptions for Prezista and

 Intelence caused by Janssen's unlawful promotion. See, e.g., supra Section I.C.3 at

 47--48. Based on the totality of the evidence presented at trial, the jury was entitled

 to find that Janssen's unlawful promotion caused claims to be submitted to ADAP

 and state Medicaid programs that were "not eligible for reimbursement" and that the

 government payors would have found Janssen's unlawful conduct material in

 denying coverage had they known of the violations.




                                           55
Case 3:12-cv-07758-ZNQ-JBD      Document 481     Filed 10/18/24   Page 67 of 89 PageID:
                                      30801



        Taking the evidence in the light most favorable to Relators, Janssen's "state-

 law" challenges based on an alleged failure of proof regarding "conditions of

 payment" must be denied. 46

 III.   THE EVIDENCE SUPPORTS THE VERDICT AND THE NUMBER
        OF CLAIMS

        A.    The Court Applied The Correct Measure of Damages And The
              Jury's Verdict Comports With The Evidence And The Instruction

        Janssen next attacks the jury's findings as to the number of false claims and

 damages. As to damages, the jury was properly instructed that "[t]he measure of

 damages under the False Claims Act is the amount of money that the Government

 paid out by reason of the false claims." Dkt. 424-11 at 46 (Instruction No. 26

 "Measure of Damages"). Janssen argues that this instruction was erroneous and it is

 entitled to judgment because the Court should have applied the "benefit of the

 bargain" measure of damages to this case. Def. Br. at 43--46, n.28. Janssen's

 argument should be rejected because (1) Janssen misstates the law; and (2) Janssen

 presented no evidence regarding the measure of damages it contends is correct-

 "the difference in cost between that contracted for and that received." Id. at 43.




 46
    Janssen also makes the sweeping contention that Relators' ADAP and state
 Medicaid claims fail for the same reasons that their Medicare claims allegedly fail.
 Def. Br. at 42. To the contrary, Janssen's challenges fail because Relators adduced
 far more than sufficient evidence at trial on causation, materiality, and falsity with
 respect to the Medicare claims. See supra Sections I.A, B, and C.

                                          56
Case 3:12-cv-07758-ZNQ-JBD           Document 481   Filed 10/18/24   Page 68 of 89 PageID:
                                           30802



 Contrary to Janssen's argument, Relators proved the government is entitled to the

 full amount that it paid for OL claims that were ineligible for reimbursement.

        First, Janssen is wrong on the law. Benefit of the bargain is not the "general

 rule" of damages that must be applied in this case. Def. Br. at 43--46. In fact, there

 is no specific formula for determining FCA damages, and courts fashion damages

 on a case-by-case basis so that the Government is "be afforded a full and complete

 recovery of all its damages. " 47

        In health care fraud cases like this one, it is well settled that courts award the

 government the full amounts that it paid out on false claims that were ineligible for

 reimbursement, routinely rejecting the "benefit of the bargain" measure of

 damages. 48 This is because the government did not directly receive any prescription

 drugs. Under the health care subsidy programs Medicare, ADAP, and Medicaid, the


 47
   S. Rep. No. 96-615 at 4 (1980) (reporting on S.1981, predecessor to S.1562). The
 legislative history of the FCA makes it clear that there is no specific formula for
 FCA damages: "No single rule can be, or should be, stated for the determination of
 damages under the Act ... [T]he courts should remain free to fashion measures of
 damages on a case-by-case basis. The Committee intends that the courts should be
 guided only by the principles that the United States' damages should be liberally
 measured to effectuate the remedial purposes of the Act, and that the United States
 should be afforded a full and complete recovery of all its damages." Id.
 48
    See United States v. Rogan, 517 F.3d 449, 453 (7th Cir. 2008) (holding, in
 Medicare and Medicaid fraud case where "[t]he government offers a subsidy ...
 with conditions" and "the conditions are not satisfied, nothing is due" and "the entire
 amount that [the defendant] received" for the false claims "must be paid back");
 United States v. Mackby, 339 F.3d 1013, 1018 (9th Cir. 2003); see also United States
 ex rel. Drakeford v. Tuomey, 792 F.3d 364, 386 (4th Cir. 2015).

                                             57
Case 3:12-cv-07758-ZNQ-JBD      Document 481     Filed 10/18/24   Page 69 of 89 PageID:
                                      30803



 government payors cover the costs of drugs for program beneficiaries who receive

 the value of those drugs.

       Here, the record is undisputed: Janssen provided Prezista and Intelence to HIV

 patients and the cost of the drugs was reimbursed by the government payors. As the

 Government received no direct benefit, the proper measure of damages was applied

 here. The Government is entitled to the full value of Prezista and Intelence

 prescriptions incurred by reason of Janssen's OL marketing scheme that were

 ineligible for reimbursement. 49

       Second, Janssen's argument is a thinly veiled attempt at a setoff defense,

 which it did not plead. See Dkt. 315 (Final Pretrial Order). While Janssen claimed

 that its damages expert, Jena, had "deductions" from the Government's damages to

 account for the "benefit of the bargain," (Jd. at 48), Janssen failed to present any

 such evidence to the jury. See 6/10/24 Tr. 7643:03-7645:13 (Jena) (admitting that

 Janssen presented no alternative damages calculation to the jury). Thus, Janssen

 cannot make this challenge now. See United States ex rel. Drakeford v. Tuomey, 792



 49
   See, e.g., United States ex rel. Lutz v. Blue Wave Healthcare Consultants, Inc., No.
 9:l l-CV-1593-RMG, 2018 WL 11282049, at *1-3 (D.S.C. May 23, 2018), affd sub
 nom. United States v. Mallory, 988 F.3d 730 (4th Cir. 2021) (upholding jury's
 damages verdict for the full value of the medically unnecessary false claims); see
 also United States v. Robinson, No. CV 13-27-GFVT, 2016 WL 7030447, at *5-7
 (E.D. Ky. July 8, 2016) aff d, 705 Fed. App'x. 458 (6 th Cir. 2017) (denying motion
 for new trial where jury awarded government full value of all of defendant's
 optometry claims it determined were medically unnecessary).

                                          58
Case 3:12-cv-07758-ZNQ-JBD       Document 481      Filed 10/18/24   Page 70 of 89 PageID:
                                       30804



 F. 3d 364, 385 (4th Cir. 2015) (court rejected the defendant's challenge to the jury's

 damage award where "Tuomey was entitled to offer its own expert and its own

 alternative damage calculation, but elected not to do so"). 50

       For these reasons, Janssen's arguments regarding "benefit of the bargain"

 damages should be rejected.

       B.     Relators' Damages Model is Supported by the Evidence

       Janssen next argues that Re lators failed to prove damages and the number of

 false claims "because the evidence they proffered was unreliable and lacked factual

 basis." Def. Br. at 46. In support thereof, Janssen simply refers to its previously-filed

 motion to strike Relators' experts Shaked and Ian Dew, which this Court already

 denied, and asserts that these experts' calculations relied on unproven factual

 assumptions. Janssen says that no jury could accept these experts' calculations, and

 Relators had no admissible evidence on damages. Id. at 47.

       This is the third time that Janssen has posed these arguments aimed at Shaked

 and Ian Dew (first in its Daubert motion, and then again in its Motion to Strike these

 experts filed during trial), which this Court has already rejected twice. See Dkt 294


 50
   Even if offsets were available for health care fraud damages, any such value to the
 government that Janssen could prove (but did not) would only be deducted from
 FCA damages after trebling. Per the United States Supreme Court: "[I]n computing
 the double [now treble] damages authorized by the [False Claims] Act, the
 Government's actual damages are to be doubled [now trebled] before any
 subtractions are made for compensatory payments previously received by the
 Government from any source." United States v. Bornstein, 423 U.S. 303,316 (1976).

                                            59
Case 3:12-cv-07758-ZNQ-JBD      Document 481      Filed 10/18/24   Page 71 of 89 PageID:
                                      30805



 at 31-37; 6/10/24 Tr. at 7748:16-7749:23, 7753:12-16. For the sake of brevity,

 Relators refer the Court to all of their arguments made in their prior Opposition to

 Janssen's Motion to Strike these experts, filed on June 11, 2024 (Dkt 408). 51 For all

 the same reasons, and as the Court has already ruled before, the Court should again

 reject Janssen's arguments here.

       C.     The Jury's Findings On The Number Of False Claims And The
              Amount Of Damages Is Supported By Substantial Evidence

       Janssen next baldly asserts that the jury's assessment of the number of false

 claims and damages are "arbitrary" and "lack evidentiary support" because they

 differ from the total number of false claims and the global amount of damages to

 government payors calculated by Professor Shaked. 52 But the notion that a jury must

 accept a plaintiffs proffered evidence of false claims and damages in toto, or else




 51
   Other than referring to its previously denied motion to strike these experts, Janssen
 asserts that two minor issues in the pharmacy data considered by Ian Dew rendered
 the experts' opinions unreliable. See Def. Br. at 47. Janssen does not explain how
 these data issued impacted the experts' opinions. Further, this pharmacy data only
 relates to determining the percentage of OL Intelence once-daily dosing
 prescriptions and has no bearing on any of the other opinions offered by these
 experts. See 5/31/24 Tr. at 5226:20-5227:7. At trial, Mr. Dew testified that the
 pharmacy data contained 302,000 data points that allowed him to make very accurate
 estimates. See 5/31/24 Tr. at 5318:1-5319:16, 5323:22-25. The jury was permitted
 to weigh Mr. Dew's testimony on these points.
 52
   Janssen contends it is "clear" that the jury "rejected" the damages model offered
 by Relators' expert, Professor Shaked, (Def. Br. pp. 47-48), but does not explain
 how the jury's findings evince any such "rejection" other than that the jury's final
 calculations differ from Shaked's global totals for false claims and damages.

                                           60
Case 3:12-cv-07758-ZNQ-JBD      Document 481      Filed 10/18/24    Page 72 of 89 PageID:
                                      30806



 its findings will be disregarded, ignores the factfinder' s role in weighing the

 evidence and inverts the applicable legal standard when deciding a motion for

 judgment as a matter of law.

       The task of determining the number of false claims submitted under the FCA

 and the amount of damages for which Janssen is liable under the federal and state

 FCAs was within the sole province of the jury. District courts in the Third Circuit

 are required to "'uphold the jury's award if there exists a reasonable basis to do so."'

 Ford Motor Co. v. Summit Motor Products, Inc., 930 F.2d 277, 290 (3d Cir. 1991)

 (quoting Motter v. Everest & Jennings, Inc., 883 F.2d 1223, 1230 (3d Cir.1989)). A

 jury's damages verdict "must be upheld so long as it is supported by a 'minimum

 quantity of evidence from which a jury might reasonably [decline to] afford relief."'

 Arnold's Office Furniture, LLC v. Borden, No. 5:20-CV-05470-JMG, 2023 WL

 3851978 at *6 (E.D. Pa. June 6, 2023) (quoting Ansbro v. Nat'l R. R. Passenger

 Corp., No. CIV. A. 90-5042, 1991 WL 258831 at *l (E.D. Pa. Dec. 3, 1991)); see

 Ford Motor Co., 930 F.2d at 290. 53



 53
    A trial judge "must be extremely reluctant to interfere with the time-honored
 power of the jury, in the exercise of its collective judgment, to assess the damages
 sustained by the plaintiff." Arnold's Office Furniture, 2023 WL 3851978, at *6
 (declining to speculate "on how the jury arrived at their damages award"); see New
 Mkt. Inv. Corp. v. Fireman's Fund Ins. Co., 774 F. Supp. 909, 917 (E.D. Pa. 1991)
 ("The mere fact that neither the plaintiff nor the Court has been able to
 mathematically deduce how the jury arrived a[t] such a figure does not mandate that
 the jury's verdict should be overturned or a new trial awarded by this Court.").

                                           61
Case 3:12-cv-07758-ZNQ-JBD       Document 481      Filed 10/18/24   Page 73 of 89 PageID:
                                       30807



       Janssen ignores these standards and the deference afforded the factfinder in

 assessing the number of false claims and damages. And, while acknowledging up

 front that a Rule 50(b) motion for judgment as a matter of law "requires that 'the

 court ... review all the evidence in the record," Def. Br. at 5-6 (emphasis added),

 Janssen instead points to only a fraction of the evidence the jury had at its disposal

 in rendering its verdict: namely, the total number of false claims and the global

 damages to government payors that Shaked estimated and the top-level breakdown

 of damages by the four categories of Janssen's unlawful promotion of Prezista and

 Intelence. Id. at 48. Missing from Janssen's cursory summation are the myriad

 component parts of Shaked' s analysis, 54 competing testimony from Jans sen' s own

 expert, the underlying documentary evidence and testimony of more than 25 fact and

 expert witnesses, and the basic recognition that the jury, as factfinder, was entitled

 to weigh and credit any or all of that evidence in arriving at its findings of the number

 of false claims and the amount of damages. 55




 54
   The demonstrative slide deck used to present Shaked's testimony is attached as
 Exhibit A-1 ("Shaked Demo").
 55
   See Dkt. 424-11 at 45 (Instruction No. 25, "Damages - Overview") ("Relators are
 not required to prove the exact amount of damages, but Relators must show
 sufficient facts and circumstances to permit you to make a reasonable estimate of
 the damages.") (emphasis added).

                                            62
Case 3:12-cv-07758-ZNQ-JBD       Document 481     Filed 10/18/24    Page 74 of 89 PageID:
                                       30808



       For instance, the jury found that Janssen violated the federal FCA by

 unlawfully promoting "Prezista or Intelence." See Dkt. 435 at 2 (Verdict Form). The

 jury was entitled to find that Relators proved all, some, or none of the alleged false

 claims that Janssen caused to be submitted and the damages resulting from its

 unlawful promotion of (1) Prezista for na'ive patients ($ l .9M), (2) Prezista for those

 with a lipid condition ($414.3M), (3) Intelence for na'ive patients ($16.4M), or (4)

 Intelence for once-daily dosing ($32.4M). See 6/3/24 Tr. 5487-88; see also Shaked

 Demo. at 74.

       Shaked further broke down the damages estimates for each of the four specific

 OL promotions by government payor, which Janssen's own expert, Jena, himself

 acknowledged and purported to "correct." See 6/10/24 Tr. 7617:11-7621: 12. 56 The

 jury was entitled to find that each of Medicare, ADAP, or state Medicaid payors

 suffered all, some, or none of the damages allegedly resulting from any or all of

 Janssen's four OL promotion schemes.

       According to Jena, for instance, the ADAP data and certain extrapolations

 performed by Shaked were not sufficiently reliable. See, e.g., 6/7 /24 Tr. 7316-22.

 Shaked disagreed. See, e.g., 6/3/24 Tr. 5579-81. Janssen argued in closing that the




 56
   Janssen's own documents reflected its assessment of the payor mix for both
 Prezista and Intelence. See, e.g., RX 1789 at 35-36.

                                           63
Case 3:12-cv-07758-ZNQ-JBD      Document 481     Filed 10/18/24   Page 75 of 89 PageID:
                                      30809



 ADAP data was entirely inadequate to support Relators' request for damages

 suffered by the ADAP program. See 6/11/24 Tr. 8091-92.

       In the same vein, Shaked presented evidence demonstrating that the OL

 prescribing rates of influenced physicians were, on average, almost precisely double

 the OL prescribing rates of non-influenced physicians. See 6/3/24 Tr. 5449:04-

 5450: 15; 57 see also Exhibit A-1 at 38 (Shaked Demo). Moreover, speakers alone

 accounted for 20 percent of all OL prescriptions during the Relevant Period for

 Prezista and Intelence reimbursed by all three government payors. See 6/3/24 Tr.

 5459-60; see also Exhibit A-1 at 50 (Shaked Demo).

       Further still, Shaked set forth, in total numbers and percentages, the multiple

 groups of influenced physicians based on their respective marketing contacts by

 Janssen. See 6/3/24 Tr. 5596:24-5602:24; Exhibit A-1 at 56 (Shaked Demo). He

 testified, for example, that removing the 6.3 percent of influenced physicians who

 received only one marketing contact from Janssen resulted in a reduction of damages

 by 1-2 percent. See 6/3/24 Tr. 5598: 13-5599:08. Shaked also testified that his

 damages calculations did not include any rebates paid back to government payors,

 which are typically 3 percent. See 6/3/24 Tr. 5582:14-5587:09.




 57
   Jena himself, in his rebuttal report in this case, purported to cut Shaked's damages
 calculations in half based on these very facts that were before the jury. See Exhibit
 A-2.

                                          64
Case 3:12-cv-07758-ZNQ-JBD       Document 481      Filed 10/18/24    Page 76 of 89 PageID:
                                       30810



       The jury was thus free to accept or reject portions of the damages and false

 claims associated with each of Prezista and Intelence, specific promotional claims,

 and/or specific government payors in their general verdict. At bottom, it is not

 Janssen's prerogative to second-guess the jury's verdict merely because it claims it

 cannot divine how the jury arrived at its final figures.

       Janssen's lone citation to an antitrust case, R.S.E., Inc. v. Pennsy Supply, Inc.,

 523 F. Supp. 954, 970 (M.D. Pa. 1981), for the proposition that a jury "may not

 simply 'reduce the figures to reflect only compensable losses' in the absence of a

 'reduction formula prepared by an expert"' is wholly inapplicable here. Def. Br. at

 47--48. In that case, the jury did not render a verdict for the plaintiff at all. Rather,

 the jury found for the defendant on one claim and hung on all remaining claims as

 to both liability and damages. R.S.E., 523 F. Supp. at 972. The district court granted

 the defendants' Rule 50(b) motion and held that plaintiffs lost profits damages

 model in its entirety was "unsupported by the facts of record" and "so speculative"

 that it rendered "the lost profit damage model, or any verdict awarded thereon,

 unreasonable." Id. at 970. 58


 58
   Moreover, the court in R.S.E. held that the financial records underlying plaintiffs
 damages model were unreliable. Id. Finally, the court held that plaintiff "failed to
 provide sufficient evidence to the jury that would provide it with the raw data it
 would need to arrive at a damage award without resorting to guesswork or
 speculation." Id. at 970-71. In contrast, Relators presented a reliable damages
 model, thoroughly attested to by Shaked, that was predicated on raw data pulled
 directly from the claims data for CMS, ADAP, and other data attested to by data
                                            65
Case 3:12-cv-07758-ZNQ-JBD      Document 481      Filed 10/18/24   Page 77 of 89 PageID:
                                      30811



       As opposed to the jury in R.S.E., the jury here found Janssen liable for

 violating the federal and state FCAs and causing the submission of false claims

 based on Janssen's unlawful promotion of Prezista or Intelence. As the factfinder,

 the jury was entitled to find fewer false claims and a lower damages figure than the

 global amounts attested to by Relators' experts-exactly as the parties agreed and

 as the Court instructed the jury in response to its direct question to the Court during

 deliberations. See 6/13/24 Tr. 8304:8-8306:16; 8311:3-7.

       There is no basis for Janssen to claim that the jury "rejected" Shaked's

 damages model and "substituted its own, arbitrary assessment" of the number of

 false claims and the amount of damages. Def. Br. at 47. As to the number of false

 claims, the jury found that Janssen caused 159,574 false claims to be submitted as a

 result of Janssen's violations of the federal FCA. See Dkt. 435 at 2 (Verdict Form).

 The jury further found that the United States sustained $120,004,736 in damages as

 a result of those federal FCA violations. Id. Those findings amount to $752 in

 damages per each individual false claim ($120,004, 736/159,574 = $752)-which is

 the precise amount of damages per false claim attested to by Shaked. See Tr. 6/3/24




 expert Ian Dew. The Court has repeatedly rejected Janssen's attempts to cast
 Relators' damages evidence as unsupported or unreliable.


                                           66
Case 3:12-cv-07758-ZNQ-JBD      Document 481     Filed 10/18/24   Page 78 of 89 PageID:
                                      30812



 at 5485:12-20; see also Ex. A-1 at 73 (Shaked Demo) ($446,700,000 /593,996 =

 $752).

          Similarly, the total damages separately attributed to the state Medicaid

 programs as a result of Janssen's violations of the state FCAs was $30,001,184-or

 20 percent of the total damages awarded. See Dkt. 435 at 2, 4-5 (Verdict Form).

 That amount was also well within the range of evidence the jury had to consider.

 See, e.g., 6/10/24 Tr. 7617:11-7621:12; see also RX 1789 at 35-36.

          Whatever combination of testimony or documentary evidence, and whatever

 permutation of Prezista or Intelence promotional claims, government payor mix,

 rebates, OL prescribing rates, marketing contacts, or other adjustments the jury may

 have made in arriving at a verdict lower than the global totals attested to by Shaked,

 the final amounts are well within the ranges attested to by Relators' and Janssen's

 experts and cannot be disturbed. 59


 59
    See, e.g., In re Urethane Antitrust Litig., 768 F.3d 1245, 1268 (10th Cir. 2014)
 ("Dow assumes that the jury could not adjust Dr. McClave' s damages figure without
 his 'underlying calculations' or some other 'tool.' This assumption is incorrect, for
 a jury can reduce an expert's calculations on damages even when unable to 'run the
 exact numbers and calculations of [a damages] model with 'mathematical
 certainty."') (internal citations omitted) (quoting Medcom Holding v. Baxter
 Travenol Labs., Inc., 106 F.3d 1388, 1400-01 (7th Cir. 1997); see also Russo v.
 Ballard Med. Prods., 550 F.3d 1004, 1018 (10th Cir. 2008) (rejecting the
 defendant's argument that the jury's award "exceeded what the record evidence
 could support" when the jury awarded an amount lying "somewhere in between the
 extremes suggested by the evidence received at trial"); see also In re Scrap Metal
 Antitrust Litig., 527 F.3d 517, 533-34 (6th Cir. 2008) (rejecting the defendant's
 argument that "the jury must have resorted to speculation" to arrive at a damages
                                          67
Case 3:12-cv-07758-ZNQ-JBD        Document 481   Filed 10/18/24   Page 79 of 89 PageID:
                                        30813



       The jury's findings on the number of false claims and the amount of damages

 were supporting by ample evidence. Performing these estimations is the

 quintessential role of a jury, and Janssen's challenges on Rule 50(b) must be denied.

       D.     The Jury's Findings On Federal Damages And The Number Of
              Claims Must Likewise Be Upheld.

       Janssen next contends that the jury's findings on federal damages and the

 number of false claims must be "vacated" because (1) Relators' state-law claims

 "fail as a matter of law" and the number of false claims "includes federal and state

 claims" that cannot be disaggregated; and (2) the jury's "federal" damages finding

 comprises payments by Medicare, ADAP, and "(to the extent of the federal portion)

 Medicaid," which Janssen contends cannot be "separated out" based on the evidence

 in the record. Def. Br. at 49.

       Janssen is wrong again. The entirety of Janssen's argument here turns on its

 contention that Relators' state-law claims fail as a matter of law. Def. Br. at 49.

 Because Relators' state-law claims were properly submitted and were supported by

 ample evidence, as discussed supra Section II, Janssen has no valid basis for




 award of $11.5 million, when the expert calculated damages of $20.9 million); see
 also Tuf Racing Prods., Inc. v. Am. Suzuki Motor Corp., 223 F.3d 585,591 (7th Cir.
 2000) (rejecting the defendant's argument that the jury's award should be set aside
 as "speculative" when the plaintiffs expert calculated damages of $1.2 million, but
 "the jury awarded only a bit more than 10 percent of that").

                                          68
Case 3:12-cv-07758-ZNQ-JBD      Document 481      Filed 10/18/24   Page 80 of 89 PageID:
                                      30814



 contesting the jury's verdict as to the number of false claims or the amount of federal

 damages.

       More puzzling is why Janssen contends that "the jury's finding of

 $120,004,736 in federal damages constitutes an unknown combination of dollars

 paid by Medicare, Medicaid and ADAP" or that "its finding of 159,574 claims

 constitutes an unknown combination of claims made to those payors." Def. Br. at

 50. The "federal damages" that the jury assessed constitute harm the United States

 sustained as a result of Janssen's violations of the federal FCA. See Dkt. 435 at 2,

 Question Three (Verdict Form). That amount, as Relators proved and argued,

 consists of federal funds for Medicare and ADAP. Damages sustained by state

 Medicaid programs (to which the Court's Instruction No. 23 exclusively pertained)

 were separately assessed by the jury. Id. at 5, Question Eight; see Rel. Br. MNT at

 23-25, which Relators incorporate herein.

       Janssen further ignores the record evidence of the breakdown of Shaked's

 requested damages (and the corresponding false claims) by each of Janssen' s four

 OL promotion schemes for Prezista and Intelence, broken out by Medicare, ADAP,

 and Medicaid damages. See supra Section III. C at 61. Seizing upon a jury question

 regarding the location of that evidence in a voluminous record, Janssen falsely

 claims that "there is no basis for these quantities and no evidence in the record that

 would support any other numbers in their place." Def. Br. at 50, 51. The jury heard


                                           69
Case 3:12-cv-07758-ZNQ-JBD      Document 481      Filed 10/18/24   Page 81 of 89 PageID:
                                      30815



 the evidence, had access to the trial transcripts of both Shaked and Jena, was directed

 by the Court to "review all the evidence," and did in fact deliberate. That the jury

 subsequently returned a verdict within the range and in the same proportions of that

 very evidence should not be a surprise-that is how juries work. Regardless, Janssen

 cannot now pretend that the evidence of "federal damages" and corresponding

 claims does not exist merely by ignoring the record.

       Because Relators proved their claims with respect to ADAP and Medicaid just

 as with Medicare, Janssen's challenge fails.

 IV.   JANSSEN'S OTHER ARGUMENTS SHOULD BE REJECTED

       A.     The Government Action Bar and Public Disclosure Bar Do Not
              Apply Here

       Janssen' s throwaway arguments that Re lators' claims should be dismissed due

 to the FCA' s government action and public disclosure bars "in light of the 2010

 CIA" are legally and factually meritless. Dkt. 473-1 at 59. Janssen previously moved

 in limine to exclude the CIAs at trial, arguing they were an "irrelevant" and

 "distracting sideshow" that would "confuse the jurors and waste the parties' and the

 Court's time." Dkt 319-1 at 30, 32. The Court, acknowledging the CIAs were

 imposed for conduct distinct from Janssen's illegal promotion here, ultimately

 admitted the CIAs for a limited purpose and barred the jury from considering them

 for propensity. Dkt. 424-11 at 38-39 (Instruction No. 20).



                                           70
Case 3:12-cv-07758-ZNQ-JBD      Document 481      Filed 10/18/24   Page 82 of 89 PageID:
                                      30816



       Now, after the jury has rendered its verdict, Janssen has again pivoted to an

 unsupportable position. According to Janssen's brief, the 2010 CIA-which Janssen

 previously represented is irrelevant-is actually so similar to the fraud Relators

 proved at trial that this case should have never been heard based on the government

 action and public disclosure bars. This argument is meritless.

              1.     The "Government Action Bar" is inapplicable.

       First, Janssen argues that Relators' claims are barred by the government action

 bar "because of the prior FCA action and resulting 2010 CIA[,]" which similarly

 "focused on off-label marketing[.]" 60 Dkt 473-1 at 51. Section 3730(e)(3) bars qui

 tam actions that are "based upon allegations or transactions which are the subject of

 a civil suit or an administrative civil money penalty proceeding in which the

 Government is already a party." As one court explained:

       [T]he government action inquiry is essentially a test of factual
       similarity. If a relator's allegations are the same as allegations already
       made by the government, or are similar enough to be characterized as
       feeding off of the government's allegations, the government action bar

 60
    Janssen also argues that "the prior FCA suit and resulting 2010 CIA created an
 ongoing proceeding in which the HHS-OIG was looking for and could have
 penalized Janssen" for its illegal promotion of Prezista and Intelence. Def. Br. at 60.
 Janssen's argument should be given no weight as it neither cites any authority for
 this assertion nor argues that the so-called "ongoing proceeding" is a civil suit or a
 penalty proceeding within the meaning of the government action bar. See United
 States ex rel. Chiba v. Guntersville Breathables, Inc., 421 F.Supp.3d 1241, 1257-58
 (N .D. Ala. 2019) (holding an investigation outside of an administrative civil money
 penalty proceeding cannot trigger the government action bar).


                                           71
Case 3:12-cv-07758-ZNQ-JBD      Document 481     Filed 10/18/24    Page 83 of 89 PageID:
                                      30817



       applies. By contrast, if a relator's case 'is seeking to remedy fraud that
       the government has not yet attempted to remedy,' the government
       action bar does not apply.

 Sturgeon v. Pharmerica Corp., 438 F.Supp.3d 246, 262 (E.D. Pa. 2020) (quoting

 United States ex. rel. S. Prawer and Co. v. Fleet Bank of Maine, 24 F.3d 320, 328

 (1st Cir. 1994)) (emphasis added).

       In support, Janssen cites only United States ex rel. Bennett v. Biotronick, Inc.,

 876 F.3d 1011, 1015 (9th Cir. 2017), in which the Ninth Circuit affirmed the

 application of the government action bar because it was based on the exact same

 allegations and transactions as an earlier-filed suit the Government had settled.

       That is not the case here. Even assuming that the unnamed "prior FCA action"

 and 20 IO CIA qualify as "government actions" sufficient to trigger the government

 action bar, Relators' claims are clearly not "based upon" or the same as the

 allegations regarding the OL promotion (by a different J&J subsidy) of the

 anticonvulsant drug Topamax, which is an FDA-approved drug used to treat

 epilepsy. Relators' claims involve different drugs (Prezista and Intelence ), a

 different time period, and a different Janssen affiliate. Janssen cannot claim that

 Relators' case is barred here merely because a Janssen affiliate committed fraud

 using similar methods.




                                          72
Case 3:12-cv-07758-ZNQ-JBD      Document 481     Filed 10/18/24   Page 84 of 89 PageID:
                                      30818



              2.    The "Public Disclosure Bar" is not applicable here.

       Janssen argues that Relators' claims should be dismissed based on the FCA's

 public disclosure bar. This too is without merit. There has never been a public

 disclosure of substantially the same allegations or transactions as Relators' claims

 and, in any event, Relators qualify as original sources.

       As an initial matter, the FCA's public disclosure bar was amended on March

 23, 2010 to allow the Government a right to veto any application of the bar. The

 Government here is exercising that right, see Dkt. 478, and, thus, Relators' claims

 from March 23, 2010 through 2014 cannot be dismissed. 61

        The public disclosure bar only applies to dismiss an action or claim if

 substantially the same allegations or transactions of the fraud were publicly

 disclosed through certain statutorily-identified sources, but not if the relator is an

 "original source" of the information. 31 U.S.C. § 3730(e)(4)(A). The 2010 CIA does

 not involve the same allegations and transactions. As noted above, the 2010 CIA

 contains only a single vague allegation of unlawful promotion that concerns


 61
    In addition, the public disclosure bar is no longer jurisdictional since the 2010
 FCA amendment and, therefore, must be raised as an affirmative defense. See United
 States ex rel. May v. Purdue Pharma L.P., 737 F.3d 908,915 (4th Cir. 2013) (holding
 the public disclosure bar is no longer jurisdictional, and that "[t]he retroactivity
 inquiry looks to when the underlying conduct occurred, not when the complaint was
 filed."). Janssen failed to assert it as an affirmative defense and, thus, it has been
 waived. See United States ex rel. Chorches for Bankruptcy Estate of Fabula v. Am.
 Med. Response, Inc., 865 F.3d 71, 80 (2d Cir. 2017) (defendant failed to raise the
 public disclosure bar as an affirmative defense and, thus, it was waived on appeal).

                                           73
Case 3:12-cv-07758-ZNQ-JBD      Document 481      Filed 10/18/24   Page 85 of 89 PageID:
                                      30819



 Topamax-a drug used to treat epilepsy. This is not "substantially the same" as the

 facts alleged and proven by Relators at trial regarding Prezista and Intelence. See

 Omnicare, 903 F.3d at 83. If the 2010 CIA could bar subsequent qui tam suits based

 on allegations of OL marketing of other drugs, then the 2013 CIA (addressing the

 OL marketing of Risperdal committed by a different Janssen affiliate) would not

 exist, and Janssen would effectively be immune from any suit related to other OL

 marketing using the same fraudulent tactics. This result is nonsensical.

       In any event, the public disclosure bar does not apply because Relators are

 original sources. 31 U.S.C. § 3730(e)(4)(A). Ms. Brancaccio and Ms. Penelow have

 direct and independent knowledge of the information, as demonstrated at trial, and

 voluntarily provided such information to the government. Id., at§ 3730(e)(4)(B).

       B.     There is no Constitutional Bar to Relators' Claims

       Finally, Janssen requests the extraordinary relief of holding the FCA's qui tam

 provision, allowing a private citizen to bring an action on behalf of the Government,

 unconstitutional in its entirety. Janssen argues the qui tam provision violates Article

 II because "[t]he government imposes no limitation on the scope of a relator's

 lawsuit" and "does not impose sufficient control on the exercise of executive power

 by private relators in non-intervened cases." Def Br. at 54-55. Janssen is mistaken.

       As acknowledged by the Supreme Court, the Government maintains

 significant control over a qui tam suit, regardless of whether the Government


                                           74
Case 3:12-cv-07758-ZNQ-JBD       Document 481      Filed 10/18/24    Page 86 of 89 PageID:
                                       30820



 intervenes or not. United States, ex rel. Polansky v. Exec. Health Res., Inc., 599 U.S.

 419, 425 (2023). "[T]he Government's views are entitled to substantial deference"

 and an FCA suit "alleges injury to the Government alone." Id. at 437. The

 Government may settle the case and can veto any voluntary dismissal or settlement

 by a relator. 31 U.S.C. § 3720(b)(1 ), (c)(2)(B). And, contrary to Janssen's assertion,

 the Government holds the ultimate power over an FCA suit-the power to end it. At

 any time, the Government may choose to intervene and dismiss an FCA suit where

 it has "good grounds for thinking that [a] suit would not do what all qui tam actions

 are supposed to do: vindicate the Government's interests." Id. at 437.

       Since the FCA' s inception in 1863, every federal circuit to consider the qui

 tam provision's constitutionality has upheld it. 62 There is a "long tradition of qui tam

 actions in England and the American Colonies." Vermont Agency of Nat. Res. v.

 United States ex rel. Stevens, 529 U.S. 765, 774, 787 (2000). "Indeed, the Founding

 Fathers and the First Congress enacted a number of statutes authorizing qui tam

 actions[,]" which "have been used throughout American and English history as a

 means to discover and to prosecute fraud against the national treasuries." Riley v. St.



 62
   See, e.g., United States ex rel. Kreindler & Kreindler v. United Techs. Corp., 985
 F.2d 1148 (2d Cir. 1993); Riley v. St. Luke's Episcopal Hosp., 252 F.3d 749 (5th Cir.
 2001) (en bane); United States ex rel. Taxpayers Against Fraud v. Gen Elec. Co., 41
 F.3d 1032 (6th Cir. 1994); United States ex rel. Kelly v. Boeing Co., 9 F.3d 743 (9th
 Cir. 1993); United States ex rel. Stone v. Rockwell Int'l Corp., 282 F.3d 787 (10th
 Cir. 2002).

                                            75
Case 3:12-cv-07758-ZNQ-JBD      Document 481      Filed 10/18/24     Page 87 of 89 PageID:
                                      30821



 Luke's Episcopal Hosp., 252 F.3d 749, 752 (5th Cir. 2001) (citing Stevens, 529 U.S.

 at 792). Just last month, the District Court for the Southern District of Florida upheld

 the qui tam provision's constitutionality, noting "the abundance of other courts that

 have balked at [this] argument" and stating that "if the First congress found the

 mechanism constitutionally appropriate, it would be difficult to justify reaching the

 opposite conclusion from the very Framers themselves." Order on Mot. to Dismiss

 at 23, United States ex rel. Butler v. Shikara, No. 20-80483-CV (S.D. Fla. Sept. 6,

 2024); but see U.S. ex rel. Zafirov v. Florida Medical Associates, LLC, No. 8: 19-cv-

 1236, 2024 U.S. Dist. LEXIS 176626 (M.D. Fla. Sept. 30, 2024) (holding, breaking

 with all existing precedent, the qui tam provisions of the FCA unconstitutional).

 Accordingly, this Court should reject Janssen's argument that the FCA's qui tam

 provision violates Article II. See Am. C. L. Union v. Holder, 673 F.3d 245,252 (4th

 Cir. 2011) (holding "lower federal courts should not 'pass on questions of

 constitutionality ... unless such adjudication is unavoidable"').

        The Court should deny Janssen's constitutional challenge.

 V.     CONCLUSION

        Relators respectfully request that the Court deny Janssen's Motion in its

 entirety.




                                           76
Case 3:12-cv-07758-ZNQ-JBD   Document 481     Filed 10/18/24   Page 88 of 89 PageID:
                                   30822



 Dated: October 18, 2024                  Respectfully Submitted,

                                   By:       /s/ William H. Ellerbe
                                            William H. Ellerbe
                                            Sherrie R. Savett (pro hac vice)
                                            Joy P. Clairmont (pro hac vice)
                                            Michael T. Fantini (pro hac vice)
                                            BERGER MONTAGUE PC
                                            1818 Market Street, Suite 3600
                                            Philadelphia, PA 19103
                                            Tel: 215-875-3000
                                            ssavett@bm.net
                                            j clairmont@bm.net
                                            mfantini@bm.net
                                            wellerbe@bm.net

                                            Pete Marketos (pro hac vice)
                                            Joshua M. Russ (pro hac vice)
                                            Andrew 0. Wirmani (pro hac vice)
                                            Adam Sanderson (pro hac vice)
                                            Whitney L. Wendel (pro hac vice)
                                            REESE MARKETOS LLP
                                            750 N. St. Paul Street, Suite 600
                                            Dallas, TX 75201
                                            Tel: 214-382-9810
                                            pete.marketos@rm-firm.com
                                            j osh.russ@rm-firm. com
                                            andrew.wirmani@rm-firm.com
                                            adam.sanderson@rm-firm.com
                                            whitney.wendel@rm-firm.com

                                            Peter S. Pearlman
                                            COHN LIFLAND PEARLMAN
                                            HERRMANN & KNOPF LLP
                                            Park 80 Plaza West-One
                                            250 Pehle A venue, Suite 401
                                            Saddle Brook, NJ 07663
                                            Tel: 201-845-9600
                                            psp@njlawfirm.com


                                     77
Case 3:12-cv-07758-ZNQ-JBD   Document 481     Filed 10/18/24   Page 89 of 89 PageID:
                                   30823



                                            Counsel for Relators




                                     78
